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   8
   9                         UNITED STATES DISTRICT COURT
  10                        CENTRAL DISTRICT OF CALIFORNIA
                                  SOUTHERN DIVISION
  11
       SERENA FLEITES,                       CASE NO. 2:21-CV-04920-CJC-ADS
  12
                   Plaintiff,
  13                                         DISCOVERY DOCUMENT:
             v.                              REFERRED TO MAGISTRATE
  14                                         JUDGE AUTUMN D. SPAETH
       MINDGEEK S.A.R.L.; MG
  15   FREESITES, LTD; MINDGEEK              NOTICE OF MOTION AND
       USA INCORPORATED; MG                  PLAINTIFF’S MOTION TO COMPEL
  16   PREMIUM LTD.; MG GLOBAL               DEFENDANT FERAS ANTOON’S
       ENTERTAINMENT INC.; 9219-             RESPONSES TO PLAINTIFF’S FIRST
  17   1568 QUEBEC, INC.; BERND              REQUEST FOR PRODUCTION OF
       BERGMAIR; FERAS ANTOON;               DOCUMENTS AND
  18   DAVID TASSILLO; COREY                 INTERROGATORIES
       URMAN; VISA INC.; COLBECK             Date: March 8, 2023
  19   CAPITAL DOES 1-5;                     Time: 10:00 a.m.
       BERGMAIR DOES 1-5                     Courtroom: 6B
  20
                   Defendants.               Jurisdictional Discovery Cutoff:
  21                                         May 1, 2023
  22
  23
  24
  25
  26
  27
  28
                                                              CASE NO. 21-CV-04920-CJC-ADS
       NOTICE OF MOTION AND PLAINTIFF’S MOTION TO COMPEL DEFENDANT FERAS ANTOON’S
       RESPONSES TO PLAINTIFF’S FIRST REQUEST FOR PRODUCTION OF DOCUMENTS AND
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   1 TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
   2         PLEASE TAKE NOTICE that on March 8, 2023, at 10:00 a.m., or as soon
   3 thereafter as the matter may be heard, in the courtroom of the Honorable Autumn D.
   4 Spaeth, located at the Ronald Reagan Federal Building and United States Courthouse,
   5 Courtroom 6B, 411 West Fourth Street, Santa Ana, CA 92701, Plaintiff Serena Fleites
   6 (“Plaintiff”) will move the Court for an Order compelling defendant Feras Antoon to
   7 respond to discovery and produce documents pursuant to Rules 33 and 34 of the
   8 Federal Rules of Civil Procedure.
   9         Plaintiff brings this motion pursuant to Rules 26, 33, 34, and 37 of the Federal
  10 Rules of Civil Procedure; Local Rule 37-2, and this Court’s July 2018 Standing
  11 Orders on Discovery Disputes.
  12         In accordance with L.R. 7-3 and 37-1, counsel for Plaintiff and Defendant Feras
  13 Antoon conferred by telephone on December 15, 2022 and January 6, 2023.
  14         Plaintiff bases this motion on this Notice, the Parties’ Joint Stipulation
  15 regarding this discovery dispute, the pleadings and papers on file in this action, and
  16 on such other evidence as may be submitted to the Court. Plaintiff submits a proposed
  17 order with this application.
  18
  19
  20 Dated: February 8, 2023
  21
  22
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                                            1                CASE NO. 21-CV-04920-CJC-ADS
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                                            2                CASE NO. 21-CV-04920-CJC-ADS
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   1                                 JOINT STIPULATION
   2 I.      THE PARTIES’ PRELIMINARY STATEMENTS
   3         A.     Plaintiff’s Preliminary Statement
   4         This Court ordered the MindGeek Defendants, including the Individual
   5 Defendants, to submit to jurisdictional discovery, (Dkt. 167, at 1), specifically
   6 identifying the following areas of relevant inquiry”: “where the money flows in the
   7 Mindgeek web,” which entities or individuals exercise operational control over the
   8 MindGeek entities that monetized Plaintiff’s child sexual abuse material (“CSAM”),
   9 and whether these individuals and entities are alter egos of each other. (Dkt. 167, at
  10 3 n.2, 4-7). Consistent with this Order, Plaintiff served discovery requests tracking
  11 the precise categories of information this Court held to be relevant to its jurisdictional
  12 analysis on the MindGeek Entity Defendants, the Individual Defendants, and
  13 defendants’ auditors, third party-Grant Thornton. This Court thereafter affirmed the
  14 relevance of the categories of information Plaintiff seeks and issued letters rogatory
  15 to various Grant Thornton entities seeking the same categories of information that
  16 Plaintiff seeks from defendant Antoon. See Dkt. 211 at 5-6 (“The Court agrees with
  17 Plaintiff that the information is relevant to the Court’s jurisdictional analysis and
  18 ensures Plaintiff ‘obtains complete and accurate information.’”).
  19         Despite two court orders, Antoon has stonewalled Plaintiff’s efforts to take
  20 basic jurisdictional discovery, refusing to produce any documents or even to conduct
  21 a search for responsive documents. Antoon has taken the position that he is not
  22 required to participate in discovery – even to search for documents – because the
  23 Mindgeek Entity Defendants might produce discovery. But this Court has already
  24 rejected the argument that an entity or individual need not participate in discovery
  25 because the information they possess would be duplicative of documents produced by
  26 any other party, Dkt. 211 at 4, and this holding applies with greater force where the
  27 party resisting discovery is a defendant in this action.
  28
                                            3                CASE NO. 21-CV-04920-CJC-ADS
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   1
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   3
   4                       See Doyle Decl., Exhibit 4, Resp. to ROG No. 1; see also Dkt.
   5 139-1 (“MindGeek does not challenge the court’s jurisdiction over . . . 9219 which
   6 acts as a service provider to Freesites.”). Accordingly, he likely possesses certain
   7 information that may not also be in the possession of other defendants in this action.
   8 Nevertheless, he has not produced a single document to date.
   9         Antoon was obligated both to conduct a reasonable search for responsive
  10 documents and to state in his responses whether he is withholding any responsive
  11 materials on the basis of any of his stated objections. The Court has already confirmed
  12 that the individual defendants are part of jurisdictional discovery. See Dkt. 167 at 7
  13 (rejecting Individual Defendants’ argument that jurisdictional discovery was
  14 unwarranted and ordering Individual Defendants to submit to discovery, in part, based
  15 on finding that Plaintiff “has alleged facts bearing on the MindGeek Individual
  16 Defendants’ direction of specific policies pursuant to which Plaintiff was harmed”).
  17 This Court should Order Antoon to produce documents in response to Plaintiff’s RFPs
  18 1-30, 32-42, 46, 49, and 52 and to supplement his responses to Plaintiff’s ROGs 2, 3,
  19 4, and 6.1
  20         B.    Defendant’s Preliminary Statement
  21         Feras Antoon is a citizen of Canada and the former CEO of MindGeek; he
  22 resigned in June 2022, months before Plaintiff issued her discovery requests. (See
  23 Brown Decl. ¶ 23.) As we have informed counsel for Plaintiff, the MindGeek
  24 corporate defendants (the “MindGeek Entities”) appropriately collected Mr. Antoon’s
  25 MindGeek business emails and data associated with messaging applications Mr.
  26
  27
      Plaintiff reserves her right to further move to this Court for any of the remaining
       1


  28 RFPs or ROGs which have not been fully responded to by Defendant Antoon.
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   1 Antoon used for MindGeek business, including all appropriate mobile data such as
   2 text messages and messaging applications. (See Brown Decl. ¶¶ 23-24.) The
   3 MindGeek Entities are reviewing those materials—and of course their corporate
   4 records, other emails, and other sources—for documents responsive to Plaintiff’s
   5 requests for production (which are substantially identical to the requests made to Mr.
   6 Antoon), as limited by the Court’s orders granting jurisdictional discovery and the
   7 MindGeek Entities’ objections to Plaintiff’s requests. (See id.) Therefore, as Plaintiff
   8 is well aware, the only possible unique sources for documents from Mr. Antoon—
   9 rather than materials the MindGeek Entities have and are reviewing for production—
  10 are his personal email accounts. 2 (See id.)
  11         The Court’s grant of jurisdictional discovery, by contrast, is expressly directed
  12 at the MindGeek Entities’ business and documents. Under the Court’s order, first,
  13 although Plaintiff offered only “scattershot” and “conclusory” allegations that gave
  14 the Court “some concern that Plaintiff is merely guessing at who bears responsibility”
  15 for the relevant policies, Plaintiff may seek information regarding “specific
  16 MindGeek policies or practices—which were [allegedly] applied to Plaintiff and her
  17 videos—that the MindGeek Individual Defendants allegedly directed or
  18 implemented.” (See Brown Decl., Ex. A (Dkt. No. 167 at 5-6.) Second, although
  19 Plaintiff’s alter ego allegations are “conclusory, vague, and indeed, quite difficult to
  20 follow at times,” she could take discovery to determine if she has a “workable alter
  21 ego theory” to impute the California MindGeek Entities’ jurisdictional contacts to the
  22 Individual Defendants. (See Brown Decl., Ex. A (Dkt. No. 167 at 6).) In granting
  23 this discovery, the Court explicitly directed Plaintiff and her counsel “to not use this
  24
       Although Mr. Antoon also has copies of his business-related text messages and other
       2
  25
     mobile messaging communications, as noted, the MindGeek entities are reviewing
  26 those same materials and will make any appropriate production pertinent to the issues
  27 of personal jurisdiction from those materials. Accordingly, Mr. Antoon is searching
     only his personal email accounts and other documents that are in his possession and
  28 not in the possession of the MindGeek Entities.
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   1 opportunity to further complicate this case.” (See Brown Decl., Ex. C (Dkt. No. 168
   2 at 2).) More recently, the Court recognized that jurisdictional discovery requests
   3 “must still be tailored to seek discovery that relates to an opposing party’s
   4 jurisdictional contacts.” (Brown Decl. Ex. K (Dkt. No. 260 at 3).)
   5         Plaintiff has not followed the Court’s directions, and instead is moving to
   6 compel responses to exceedingly broad discovery requests to Mr. Antoon and the
   7 other individual defendants (together, the “Individual Defendants”) going well
   8 beyond the jurisdictional discovery ordered. For example, several requests (both
   9 alone and in combination) seek essentially every piece of paper and every email and
  10 electronic record the Individual Defendants possess related to the MindGeek Entities.
  11 Plaintiff similarly seeks information from the Individual Defendants regarding every
  12 penny going in or out of MindGeek to or from any party for any purpose for an eight-
  13 year period, without limitation. Despite the Court’s limited grant of jurisdictional
  14 discovery and Mr. Antoon’s status as an unlikely source of relevant documents (as
  15 opposed to the MindGeek Entities), Plaintiff has not engaged with Mr. Antoon
  16 regarding a reasonable search of Mr. Antoon’s personal e-mails for non-privileged,
  17 responsive documents within the jurisdictional discovery authorized by this Court.
  18 Instead, Plaintiff has moved to compel on nearly all of her exceedingly broad
  19 discovery requests without narrowing any of them. Plaintiff has also moved to
  20 compel more specific responses to interrogatories, even though she did not raise any
  21 specific complaints about Mr. Antoon’s responses prior to serving her portion of this
  22 joint stipulation.
  23         Plaintiff’s motion to compel should be rejected for several reasons.
  24         First, Plaintiff has not fulfilled her obligation to meet and confer as required by
  25 L.R. 37-1. Although Plaintiff admits that her requests were targeted to merits
  26 discovery (in addition to jurisdictional issues), she has rebuffed repeated requests to
  27 narrow her requests in any way. And, to make matters worse, following the January
  28 11, 2023, hearing on Plaintiff’s motion to compel the MindGeek Entities to respond
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  1 to certain discovery requests, Plaintiff expressed a willingness to meet and confer with
  2 counsel for Mr. Antoon on the issues raised in this joint stipulation, responding to the
  3 Individual Defendants’ request for a narrowed list of specific materials she seeks from
  4 these Defendants regarding personal jurisdiction with: “yes – we should confer further
  5 to try to reach agreements. Back in touch shortly.” (Brown Decl. Ex. Q.) 3 But
  6 Plaintiff never contacted defense counsel to confer further. Instead, on February 1,
  7 2023, Plaintiff emailed her portion of a joint stipulation on a motion to compel each
  8 Individual Defendant to respond to nearly all of her overbroad discovery requests as
  9 written, without any narrowing constructions whatsoever. (Brown Decl. Ex. S). This
 10 alone is a basis to deny her motion.
 11         Second, Plaintiff impermissibly seeks a wide range of corporate documents
 12 from Mr. Antoon, rather than the MindGeek Entities, who are the most convenient,
 13 efficient, and logical source for those documents.
 14         Third, Mr. Antoon has searched for documents concerning Ms. Fleites and does
 15 not have any such documents in his personal emails from the relevant time period.
 16         Fourth, Plaintiff’s requests far exceed the scope of the limited jurisdictional
 17 discovery permitted by the Court.
 18         Fifth, Mr. Antoon has conducted and continues to conduct a reasonably diligent
 19 search for documents within the proper scope of jurisdictional discovery and is willing
 20 to meet and confer further regarding additional materials within that scope that
 21 Plaintiff reasonably believes Mr. Antoon may have.
 22
 23
 24
     Plaintiff originally served this joint stipulation on December 23, 2022. Plaintiff has
      3
 25
    since updated her portion to remove one issue from the dispute, but has otherwise
 26 failed to update it in light of the parties’ January 6, 2023, meet and confer, the Court’s
 27 January 11, 2023, hearing on a separate motion to compel, or the Individual
    Defendants’ repeated offers to meet and confer from January 11 through January 18,
 28 2023, which Plaintiff initially accepted, but then refused to actually conduct.
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  1 II.     JOINT SPECIFICATION OF ISSUES IN DISPUTE
  2         A.    Requests for Production in Dispute
  3         Request for Production No. 1: “All documents and communications concerning
  4         Serena Fleites.”
  5
            Response to Request for production No. 1: “Mr. Antoon objects to this Request
  6
            on the grounds that it is overbroad, unduly burdensome, and seeks documents
  7
            beyond Mr. Antoon’s possession, custody, or control. Mr. Antoon also objects
  8
            to this Request to the extent it seeks communications or other documents that
  9
            are protected by the attorney-client privilege, work product doctrine, or any
 10
            other applicable privilege or immunity. Moreover, Mr. Antoon objects to the
 11
            extent this Request seeks information beyond the scope of the jurisdictional
 12
            discovery authorized by the Court’s July 29 Order. Among other things, this
 13
            Request improperly assumes that “communications concerning Serena Fleites”
 14
            are relevant to determine whether personal jurisdiction exists over Mr. Antoon.
 15
            Mr. Antoon also objects to the term “concerning Serena Fleites” as vague and
 16
            overbroad. Mr. Antoon further objects to this Request to the extent it seeks
 17
            documents outside the Relevant Time Period. Mr. Antoon also objects to this
 18
            Request because it seeks information that can be obtained from a more
 19
            convenient and less expensive source, namely, the MindGeek Corporate
 20
            Defendants. Indeed, Plaintiff issued the same Request to the MindGeek
 21
            Corporate Defendants, and it would be unreasonably expensive and
 22
            disproportionate to the needs of the case to require Mr. Antoon, an individual,
 23
            to duplicate the search of the MindGeek Corporate Defendants.
 24
 25
            Subject to the foregoing objections, Mr. Antoon states that he has had no
 26
            communications with Serena Fleites.”
 27
 28
                                           8                CASE NO. 21-CV-04920-CJC-ADS
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  1        Request for Production No. 2: “All documents and communications concerning
  2        or relating to Your affiliation with, employment by, or ownership of MindGeek,
  3        any MindGeek Related Entity, or any MindGeek Tubesites.”
  4
  5        Response to Request for Production No. 2: “Mr. Antoon objects to this Request
  6        on the grounds that it is overbroad, unduly burdensome, and seeks information
  7        beyond Mr. Antoon’s possession, custody, or control. Mr. Antoon also objects
  8        to this Request to the extent it seeks communications or other documents that
  9        are protected by the attorney-client privilege, work product doctrine, or any
 10        other applicable privilege or immunity. Moreover, Mr. Antoon objects to the
 11        extent this Request seeks information beyond the scope of the jurisdictional
 12        discovery authorized by the Court’s July 29 Order. Mr. Antoon further objects
 13        to this Request to the extent it seeks documents outside the Relevant Time
 14        Period. And Mr. Antoon objects to the term “affiliation” because it is vague
 15        and ambiguous. Mr. Antoon also objects to this Request to the extent it seeks
 16        information that can be obtained from a more convenient and less expensive
 17        source, namely, the MindGeek Corporate Defendants. Indeed, Mr. Antoon
 18        interprets Plaintiff’s Request Nos. 3, 24, and 25 to the MindGeek Corporate
 19        Defendants to request the same information as this Request, and it would be
 20        unreasonably expensive and disproportionate to the needs of the case to require
 21        Mr. Antoon, an individual, to duplicate the search of the MindGeek Corporate
 22        Defendants.
 23
 24        Subject to the foregoing objections, Mr. Antoon refers Plaintiff to and
 25        incorporates herein his response to Interrogatory No. 1 and agrees to meet and
 26        confer should there be remaining questions on this topic.”
 27
 28        Request for Production No. 3: “All documents and communications concerning
                                              9               CASE NO. 21-CV-04920-CJC-ADS
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  1        or reflecting any income, revenue, or other monies You have received from
  2        MindGeek, any MindGeek Related Entity, or any MindGeek Tubesites.”
  3
  4        Response to Request for Production No. 3: “Mr. Antoon objects to this Request
  5        on the grounds that it is overbroad, unduly burdensome, and seeks information
  6        beyond Mr. Antoon’s possession, custody, or control. Moreover, Mr. Antoon
  7        objects to the extent this Request seeks information beyond the scope of the
  8        jurisdictional discovery authorized by the Court’s July 29 Order. Mr. Antoon
  9        further objects to this Request to the extent it seeks documents outside the
 10        Relevant Time Period. Mr. Antoon also objects to this Request to the extent it
 11        seeks information that can be obtained from a more convenient and less
 12        expensive source, namely, the MindGeek Corporate Defendants. Indeed, Mr.
 13        Antoon interprets Plaintiff’s Request Nos. 3, 24, and 25 to the MindGeek
 14        Corporate Defendants to request the same information as this Request, and it
 15        would be unreasonably expensive and disproportionate to the needs of the case
 16        to require Mr. Antoon, an individual, to duplicate the search of the MindGeek
 17        Corporate Defendants.”
 18
 19        Request for Production No. 4: “All documents and communications between
 20        and among You and any of the Defendants related to this Action.”
 21
 22        Response to Request for Production No. 4: “Mr. Antoon objects to this Request
 23        on the grounds that it is overbroad, unduly burdensome, and seeks information
 24        beyond Mr. Antoon’s possession, custody, or control. And Mr. Antoon objects
 25        to this Request because it is duplicative of Request No. 1. Mr. Antoon also
 26        objects to this Request to the extent it seeks communications or other
 27        documents that are protected by the attorney-client privilege, work product
 28        doctrine, or any other applicable privilege or immunity. Moreover, Mr. Antoon
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  1        objects to the extent this Request seeks information beyond the scope of the
  2        jurisdictional discovery authorized by the Court’s July 29 Order. Mr. Antoon
  3        further objects to this Request to the extent it seeks documents outside the
  4        Relevant Time Period. Mr. Antoon also objects to this Request because it seeks
  5        information that can be obtained from a more convenient and less expensive
  6        source, namely, the MindGeek Corporate Defendants. Indeed, Mr. Antoon
  7        interprets Plaintiff’s Request No. 1 to the MindGeek Corporate Defendants to
  8        request the same information as this Request, and it would be unreasonably
  9        expensive and disproportionate to the needs of the case to require Mr. Antoon,
 10        an individual, to duplicate the search of the MindGeek Corporate Defendants.”
 11
 12        Request for Production No. 5: “All documents and communications between
 13        and among You and any of the Defendants related to the presence of any CSAM
 14        on any MindGeek site, any MindGeek Related Entity site, or any MindGeek
 15        Tubesites.”
 16
 17        Response to Request for Production No. 5: “Mr. Antoon objects to this Request
 18        on the grounds that it is overbroad, unduly burdensome, and seeks information
 19        beyond Mr. Antoon’s possession, custody, or control. Mr. Antoon objects to
 20        the terms “MindGeek site” and “MindGeek Related Entity site” as vague and
 21        ambiguous. Mr. Antoon therefore interprets both “MindGeek site” and
 22        “MindGeek Related Entity site” to mean Pornhub, the only site on which
 23        Plaintiff alleges her video appeared and therefore the only site relevant to
 24        Plaintiff’s claims. Mr. Antoon also objects to this Request to the extent it seeks
 25        communications or other documents that are protected by the attorney-client
 26        privilege, work product doctrine, or any other applicable privilege or immunity.
 27        Moreover, Mr. Antoon objects to the extent this Request seeks information
 28        beyond the scope of the jurisdictional discovery authorized by the Court’s July
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  1        29 Order. Mr. Antoon further objects to this Request to the extent it seeks
  2        documents outside the Relevant Time Period. Mr. Antoon also objects to this
  3        Request to the extent it seeks information that can be obtained from a more
  4        convenient and less expensive source, namely, the MindGeek Corporate
  5        Defendants. Indeed, Mr. Antoon interprets Plaintiff’s Request Nos. 28, 29, 33,
  6        34, 35, 36, 40, 41, 43, and 46 to the MindGeek Corporate Defendants to request
  7        the same information as this Request, and it would be unreasonably expensive
  8        and disproportionate to the needs of the case to require Mr. Antoon, an
  9        individual, to duplicate the search of the MindGeek Corporate Defendants.”
 10
 11        Request for Production No. 6: “All documents describing, depicting,
 12        explaining, or relating to the past or present corporate and ownership
 13        organization and structure of MindGeek, the identity of all affiliated or related
 14        party entities, corporations, limited partnerships, limited liability companies,
 15        partnerships, or other entities; the nature of the direct, indirect or beneficial
 16        ownership or other interests held by any such person, entity, or organization;
 17        and the owners, members, directors, managers, lenders, secured parties, general
 18        or limited partners, executives, and outside law firms and accountants of
 19        such entities.”
 20
 21        Response to Request for Production No. 6: “Mr. Antoon objects to this Request
 22        on the grounds that it is overbroad, unduly burdensome, and seeks documents
 23        beyond Mr. Antoon’s possession, custody, or control. Mr. Antoon also objects
 24        to this Request to the extent it seeks communications or other documents that
 25        are protected by the attorney-client privilege, work product doctrine, or any
 26        other applicable privilege or immunity. Moreover, Mr. Antoon objects to the
 27        extent this Request seeks information beyond the scope of the jurisdictional
 28        discovery authorized by the Court’s July 29 Order. Mr. Antoon further objects
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  1        to this Request to the extent it seeks documents outside the Relevant Time
  2        Period. Mr. Antoon also objects to this Request to the extent it seeks
  3        information that can be obtained from a more convenient and less expensive
  4        source, namely, the MindGeek Corporate Defendants. Indeed, Mr. Antoon
  5        interprets Request No. 2 to the MindGeek Corporate Defendants to seek the
  6        same information as this Request, and it would be unreasonably expensive and
  7        disproportionate to the needs of the case to require Mr. Antoon, an individual,
  8        to duplicate the search of the MindGeek Corporate Defendants.”
  9
 10        Request for Production No. 7: “All documents related to any past or present,
 11        direct, indirect, or beneficial ownership, lending, or secured or other economic
 12        interest in, or business relationship with, MindGeek or any MindGeek Related
 13        Entity by You or any of the other Individual Defendants, Colbeck Capital, JP
 14        Morgan Chase, Fortress Investment Group, Cornell, Bjorn Daniel Sudan, or
 15        Shaileshkumar P. Jain (a/k/a “Sam” Jain) or individuals or entities introduced
 16        or represented by such persons or entities.”
 17
 18        Response to Request for Production No. 7: “Mr. Antoon objects to this Request
 19        on the grounds that it is overbroad, unduly burdensome, and seeks documents
 20        beyond Mr. Antoon’s possession, custody, or control. Mr. Antoon also objects
 21        to this Request to the extent it seeks communications or other documents that
 22        are protected by the attorney-client privilege, work product doctrine, or any
 23        other applicable privilege or immunity. Moreover, Mr. Antoon objects to the
 24        extent this Request seeks information beyond the scope of the jurisdictional
 25        discovery authorized by the Court’s July 29 Order. This Request plainly seeks
 26        information about individuals and entities that are not parties to this case and is
 27        therefore outside the scope of the Court’s July 29 Order. Mr. Antoon further
 28        objects to this Request to the extent it seeks documents outside the Relevant
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  1        Time Period. Mr. Antoon also objects to this Request to the extent it seeks
  2        information that can be obtained from a more convenient and less expensive
  3        source, namely, the MindGeek Corporate Defendants. Indeed, Mr. Antoon
  4        interprets Request No. 3 to the MindGeek Corporate Defendants to seek the
  5        same information as this Request, and it would be unreasonably expensive and
  6        disproportionate to the needs of the case to require Mr. Antoon, an individual,
  7        to duplicate the search of the MindGeek Corporate Defendants.
  8
  9        Subject to the foregoing objections, Mr. Antoon refers to and incorporates his
 10        response to Interrogatory No. 1 and agrees to meet and confer should there be
 11        remaining questions on this topic..”
 12
 13        Request for Production No. 8: “All documents related to any past or present,
 14        direct, indirect or beneficial ownership, licensing, or secured or other economic
 15        interest of, or in, any intellectual property owned or licensed, directly or
 16        indirectly by You related to MindGeek, any MindGeek Related Entity, or any
 17        MindGeek Tubesites.”
 18
 19        Response to Request for Production No. 8: “All documents related to any past
 20        or present, direct, indirect or beneficial ownership, licensing, or secured or
 21        other economic interest of, or in, any intellectual property owned or licensed,
 22        directly or indirectly by You related to MindGeek, any MindGeek Related
 23        Entity, or any MindGeek Tubesites. Response to Request No. 8: Mr. Antoon
 24        objects to this Request on the grounds that it is overbroad, unduly burdensome,
 25        and seeks documents beyond Mr. Antoon’s possession, custody, or control. Mr.
 26        Antoon also objects to this Request to the extent it seeks communications or
 27        other documents that are protected by the attorney-client privilege, work
 28        product doctrine, or any other applicable privilege or immunity. Moreover, Mr.
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  1        Antoon objects to the extent this Request seeks information beyond the scope
  2        of the jurisdictional discovery authorized by the Court’s July 29 Order. Among
  3        other things, this Request seeks information about intellectual property
  4        unrelated to Pornhub or the claims at issue in this case. Mr. Antoon further
  5        objects to this Request to the extent it seeks documents outside the Relevant
  6        Time Period. Mr. Antoon also objects to this Request to the extent it seeks
  7        information that can be obtained from a more convenient and less expensive
  8        source, namely, the MindGeek Corporate Defendants. Indeed, Mr. Antoon
  9        interprets Request No. 4 to the MindGeek Corporate Defendants to seek the
 10        same information as this Request, and it would be unreasonably expensive and
 11        disproportionate to the needs of the case to require Mr. Antoon, an individual,
 12        to duplicate the search of the MindGeek Corporate Defendants.”
 13
 14        Request for Production No. 9: “All documents describing, depicting,
 15        explaining, or relating to MindGeek’s past or present internal organizational
 16        structure, offices, departments, executives, and personnel.”
 17
 18        Response to Request for Production No. 9: “Mr. Antoon objects to this Request
 19        on the grounds that it is overbroad, unduly burdensome, and seeks documents
 20        beyond Mr. Antoon’s possession, custody, or control. Mr. Antoon also objects
 21        to this Request to the extent it seeks communications or other documents that
 22        are protected by the attorney-client privilege, work product doctrine, or any
 23        other applicable privilege or immunity. Moreover, Mr. Antoon objects to the
 24        extent this Request seeks information beyond the scope of the jurisdictional
 25        discovery authorized by the Court’s July 29 Order. Mr. Antoon further objects
 26        to this Request to the extent it seeks documents outside the Relevant Time
 27        Period. Mr. Antoon also objects to this Request to the extent it seeks
 28        information that can be obtained from a more convenient and less expensive
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  1        source, namely, the MindGeek Corporate Defendants. Indeed, Mr. Antoon
  2        interprets Request No. 5 to the MindGeek Corporate Defendants to seek the
  3        same information as this Request, and it would be unreasonably expensive and
  4        disproportionate to the needs of the case to require Mr. Antoon, an individual,
  5        to duplicate the search of the MindGeek Corporate Defendants.”
  6
  7        Request for Production No. 10: “All documents identifying all MindGeek or
  8        outside personnel or vendors with any current or past responsibility for
  9        moderating,   monitoring,    formatting,   optimizing,   filtering,   reviewing,
 10        screening, or removing content on any MindGeek platform or website, the
 11        entities they were retained and employed by, and the entities that they were
 12        compensated by, whether salary, bonus or otherwise.”
 13
 14        Response to Request for Production No. 10: “Mr. Antoon objects to this
 15        Request on the grounds that it is overbroad, unduly burdensome, and seeks
 16        documents beyond Mr. Antoon’s possession, custody, or control. Mr. Antoon
 17        also objects to this Request to the extent it seeks communications or other
 18        documents that are protected by the attorney-client privilege, work product
 19        doctrine, or any other applicable privilege or immunity. Moreover, Mr. Antoon
 20        objects to the extent this Request seeks information beyond the scope of the
 21        jurisdictional discovery authorized by the Court’s July 29 Order. Among other
 22        things, this Request is not limited to the MindGeek Corporate Defendants. Nor
 23        is it limited to Pornhub, the only tubesite on which Plaintiff alleges content
 24        depicting her was uploaded. Mr. Antoon also objects to the terms “outside
 25        personnel” and “vendors” as vague and ambiguous. Mr. Antoon further objects
 26        to this Request to the extent it seeks documents outside the Relevant Time
 27        Period. Mr. Antoon also objects to this Request to the extent it seeks
 28        information that can be obtained from a more convenient and less expensive
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  1        source, namely, the MindGeek Corporate Defendants. Indeed, Mr. Antoon
  2        interprets Request No. 6 to the MindGeek Corporate Defendants to seek the
  3        same information as this Request, and it would be unreasonably expensive and
  4        disproportionate to the needs of the case to require Mr. Antoon, an individual,
  5        to duplicate the search of the MindGeek Corporate Defendants.”
  6
  7        Request for Production No. 11: “All documents and communications relating
  8        to Your or MindGeek’s past or present jurisdictional contacts with the United
  9        States or California, including but not limited to, offices, residences, and real
 10        estate located in California or any jurisdiction in the United States.”
 11
 12        Response to Request for Production No. 11: “Mr. Antoon objects to this
 13        Request on the grounds that it is overbroad, unduly burdensome, and seeks
 14        documents beyond Mr. Antoon’s possession, custody, or control. Mr. Antoon
 15        also objects to this Request to the extent it seeks communications or other
 16        documents that are protected by the attorney-client privilege, work product
 17        doctrine, or any other applicable privilege or immunity. Moreover, Mr. Antoon
 18        objects to the extent this Request seeks information beyond the scope of the
 19        jurisdictional discovery authorized by the Court’s July 29 Order. Among other
 20        things, Mr. Antoon objects because this Request assumes officers, residence,
 21        and real estate located in California or the United States at large are relevant
 22        “jurisdictional contacts” in this action. Mr. Antoon also objects to this Request
 23        because it assumes the actions or contacts of the MindGeek Corporate
 24        Defendants are relevant to the issue of whether this Court has personal
 25        jurisdiction over Mr. Antoon. Mr. Antoon further objects to this Request to the
 26        extent it seeks documents outside the Relevant Time Period. Mr. Antoon also
 27        objects to this Request to the extent it seeks information that can be obtained
 28        from a more convenient and less expensive source, namely, the MindGeek
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  1        Corporate Defendants. Indeed, Mr. Antoon interprets Request No. 7 to the
  2        MindGeek Corporate Defendants to seek the same information as this Request,
  3        and it would be unreasonably expensive and disproportionate to the needs of
  4        the case to require Mr. Antoon, an individual, to duplicate the search of the
  5        MindGeek Corporate Defendants.
  6
  7        Subject to the foregoing objections, Mr. Antoon refers Plaintiff to and
  8        incorporates herein his responses to Interrogatory No. 4 and agrees to meet and
  9        confer should there be remaining questions on this topic.”
 10
 11        Request for Production No. 12: “All documents and communications relating
 12        to Your or MindGeek’s personnel or vendors employed, retained, paid, located
 13        in, or otherwise providing services in California or any jurisdiction in the
 14        United States; political activities in California or any jurisdiction in the United
 15        States, including through direct or indirect participation in, or financial support
 16        for, lobbying, trade, or industry, or activist organizations; trips to California or
 17        any jurisdiction in the United States; servers; revenues, profits, expenses, taxes
 18        earned or paid in or from California or any jurisdiction in the United States;
 19        and communications or business relationships with, to, from, or in California
 20        or any jurisdiction in the United States.”
 21
 22        Response to Request for Production No. 12: “Mr. Antoon objects to this
 23        Request on the grounds that it is overbroad, unduly burdensome, and seeks
 24        documents beyond Mr. Antoon’s possession, custody, or control. Mr. Antoon
 25        also objects to this Request to the extent it seeks communications or other
 26        documents that are protected by the attorney-client privilege, work product
 27        doctrine, or any other applicable privilege or immunity. Moreover, Mr. Antoon
 28        objects to the extent this Request seeks information beyond the scope of the
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  1        jurisdictional discovery authorized by the Court’s July 29 Order. Mr. Antoon
  2        further objects to this Request to the extent it seeks documents outside the
  3        Relevant Time Period. Mr. Antoon also objects to this Request to the extent it
  4        seeks information that can be obtained from a more convenient and less
  5        expensive source, namely, the MindGeek Corporate Defendants. Indeed, Mr.
  6        Antoon interprets Request No. 7 to the MindGeek Corporate Defendants to
  7        seek the same information as this Request, and it would be unreasonably
  8        expensive and disproportionate to the needs of the case to require Mr. Antoon,
  9        an individual, to duplicate the search of the MindGeek Corporate Defendants.
 10
 11        Subject to the foregoing objections, Mr. Antoon refers Plaintiff to and
 12        incorporates herein his responses to Interrogatory No. 4 and agrees to meet and
 13        confer should there be remaining questions on this topic.”
 14
 15        Request for Production No. 13: “All documents reflecting annual revenues,
 16        profits and losses, and expenses for each MindGeek Related Entity or
 17        MindGeek Tubesite or the entity that owns or controls that platform or
 18        website.”
 19
 20        Response to Request for Production No. 13: “Mr. Antoon objects to this
 21        Request on the grounds that it is overbroad, unduly burdensome, and seeks
 22        documents beyond Mr. Antoon’s possession, custody, or control. Moreover,
 23        Mr. Antoon objects to the extent this Request seeks information beyond the
 24        scope of the jurisdictional discovery authorized by the Court’s July 29 Order.
 25        Among other things, this Request is not limited to Pornhub, the only tubesite
 26        on which Plaintiff alleges content depicting her was uploaded, or to MG
 27        Freesites Ltd., the entity that operates Pornhub. Mr. Antoon further objects to
 28        this Request to the extent it seeks documents outside the Relevant Time Period.
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  1        Mr. Antoon also objects to this Request to the extent it seeks information that
  2        can be obtained from a more convenient and less expensive source, namely, the
  3        MindGeek Corporate Defendants. Indeed, Mr. Antoon interprets Request No.
  4        8 to the MindGeek Corporate Defendants to seek the same information as this
  5        Request, and it would be unreasonably expensive and disproportionate to the
  6        needs of the case to require Mr. Antoon, an individual, to duplicate the search
  7        of the MindGeek Corporate Defendants.”
  8
  9        Request for Production No. 14: “All documents concerning, reflecting,
 10        describing, or relating to, or comprising of presentations to or from, proposed
 11        transactions from, or data and information provided or made available to, any
 12        actual or potential investors, lenders, secured parties, licensees, purchasers, or
 13        others concerning MindGeek or any MindGeek Related Entity.”
 14
 15        Response to Request for Production No. 14: “Mr. Antoon objects to this
 16        Request on the grounds that it is overbroad, unduly burdensome, and seeks
 17        documents beyond Mr. Antoon’s possession, custody, or control. Mr. Antoon
 18        also objects to this Request to the extent it seeks communications or other
 19        documents that are protected by the attorney-client privilege, work product
 20        doctrine, or any other applicable privilege or immunity. Mr. Antoon objects to
 21        the terms “or others” and “concerning MindGeek” because they are vague and
 22        ambiguous. Moreover, Mr. Antoon objects to the extent this Request seeks
 23        information beyond the scope of the jurisdictional discovery authorized by the
 24        Court’s July 29 Order. Mr. Antoon further objects to this Request to the extent
 25        it seeks documents outside the Relevant Time Period. Mr. Antoon also objects
 26        to this Request to the extent it seeks information that can be obtained from a
 27        more convenient and less expensive source, namely, the MindGeek Corporate
 28        Defendants. Indeed, Mr. Antoon interprets Request No. 9 to the MindGeek
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  1        Corporate Defendants to seek the same information as this Request, and it
  2        would be unreasonably expensive and disproportionate to the needs of the case
  3        to require Mr. Antoon, an individual, to duplicate the search of the MindGeek
  4        Corporate Defendants.”
  5
  6        Request for Production No. 15: “All transaction documents, term sheets, and
  7        communications concerning any actual or proposed transactions involving the
  8        ownership of, loans to, secured interest in, or intellectual property or other
  9        rights related to MindGeek.”
 10
 11        Response to Request for Production No. 15: “Mr. Antoon objects to this
 12        Request on the grounds that it is overbroad, unduly burdensome, and seeks
 13        documents beyond Mr. Antoon’s possession, custody, or control. Mr. Antoon
 14        also objects to this Request to the extent it seeks communications or other
 15        documents that are protected by the attorney-client privilege, work product
 16        doctrine, or any other applicable privilege or immunity. Moreover, Mr. Antoon
 17        objects to the extent this Request seeks information beyond the scope of the
 18        jurisdictional discovery authorized by the Court’s July 29 Order. Among other
 19        things, Mr. Antoon objects to this Request to the extent it seeks information
 20        with respect to “proposed transactions,” which bear no relation to whether
 21        personal jurisdiction exists with respect to Mr. Antoon. Mr. Antoon also objects
 22        to the term “other rights” because it is vague and ambiguous. Mr. Antoon
 23        further objects to this Request to the extent it seeks documents outside the
 24        Relevant Time Period. Mr. Antoon also objects to this Request to the extent it
 25        seeks information that can be obtained from a more convenient and less
 26        expensive source, namely, the MindGeek Corporate Defendants. Indeed, Mr.
 27        Antoon interprets Request No. 10 to the MindGeek Corporate Defendants to
 28        seek the same information as this Request, and it would be unreasonably
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  1        expensive and disproportionate to the needs of the case to require Mr. Antoon,
  2        an individual, to duplicate the search of the MindGeek Corporate Defendants.”
  3
  4        Request for Production No. 16: “For each MindGeek entity, affiliate,
  5        subsidiary, or related entity, all financial, ledgers; shareholder, investor,
  6        director, member, manager, or partner lists; board presentation materials, board
  7        minutes, and calendars of board meetings or conferences; records reflecting
  8        capitalization, revenues, profits, tax payments, distributions or dividends, and
  9        distribution or dividend recipients for such entities; articles of incorporation or
 10        formation, by-laws, shareholder and lender agreements; profit and loss, balance
 11        sheet, tax, payroll, and expense records; and records reflecting the sources of
 12        all payments made to or on behalf of the entity, affiliate, subsidiary, or related
 13        entity.”
 14
 15        Response to Request for Production No. 16: “Mr. Antoon objects to this
 16        Request on the grounds that it is overbroad, unduly burdensome, and seeks
 17        documents beyond Mr. Antoon’s possession, custody, or control. Moreover,
 18        Mr. Antoon objects to the extent this Request seeks information beyond the
 19        scope of the jurisdictional discovery authorized by the Court’s July 29 Order.
 20        Mr. Antoon objects to this Request because it seeks financial ledgers, lists of
 21        investors or managers, lender agreements, payroll and expense records, and
 22        sources of payment that are unrelated to any claim in this case or to determining
 23        whether personal jurisdiction exists over Mr. Antoon. Mr. Antoon further
 24        objects to this Request to the extent it seeks documents outside the Relevant
 25        Time Period. Mr. Antoon also objects to this Request to the extent it seeks
 26        information that can be obtained from a more convenient and less expensive
 27        source, namely, the MindGeek Corporate Defendants. Indeed, Mr. Antoon
 28        interprets Request No. 11 to the MindGeek Corporate Defendants to seek the
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  1        same information as this Request, and it would be unreasonably expensive and
  2        disproportionate to the needs of the case to require Mr. Antoon, an individual,
  3        to duplicate the search of the MindGeek Corporate Defendants.”
  4
  5        Request for Production No. 17: “For each MindGeek Entity, affiliate,
  6        subsidiary, or Related Entity, all quarterly and annual tax filings, audits,
  7        financials, and statutory reporting, including work papers and reports of its
  8        outside accountants.”
  9
 10        Response to Request for Production No. 17: “Mr. Antoon objects to this
 11        Request on the grounds that it is overbroad, unduly burdensome, and seeks
 12        documents beyond Mr. Antoon’s possession, custody, or control. Moreover,
 13        Mr. Antoon objects to the extent this Request seeks information beyond the
 14        scope of the jurisdictional discovery authorized by the Court’s July 29 Order.
 15        Mr. Antoon objects to this Request because quarterly and annual tax filings,
 16        audits, financials, and statutory reporting, including work papers and reports of
 17        outside accountants are unrelated to the any claim asserted in this case or to
 18        determining whether personal jurisdiction exists over Mr. Antoon. Mr. Antoon
 19        further objects to this Request to the extent it seeks documents outside the
 20        Relevant Time Period. Mr. Antoon also objects to this Request to the extent it
 21        seeks information that can be obtained from a more convenient and less
 22        expensive source, namely, the MindGeek Corporate Defendants. Indeed, Mr.
 23        Antoon interprets Request No. 12 to the MindGeek Corporate Defendants to
 24        seek the same information as this Request, and it would be unreasonably
 25        expensive and disproportionate to the needs of the case to require Mr. Antoon,
 26        an individual, to duplicate the search of the MindGeek Corporate Defendants.”
 27
 28        Request for Production No. 18: “Your monthly, quarterly, and annual bank and
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  1        investment statements.”
  2
  3        Response to Request for Production No. 18: “Mr. Antoon objects to this
  4        Request on the grounds that it is overbroad, unduly burdensome, and seeks
  5        documents beyond Mr. Antoon’s possession, custody, or control. Moreover,
  6        Mr. Antoon objects to the extent this Request seeks information beyond the
  7        scope of the jurisdictional discovery authorized by the Court’s July 29 Order.
  8        This Requests seeks information about Mr. Antoon’s personal finances that is
  9        wholly unrelated to Fleites or Pornhub, the only tubesite on which Plaintiff
 10        alleges content depicting her was uploaded. Mr. Antoon further objects to this
 11        Request to the extent it seeks documents outside the Relevant Time Period. Mr.
 12        Antoon also objects to the term “investment statement” as vague and
 13        ambiguous. Mr. Antoon also objects to this Request to the extent it seeks
 14        information that can be obtained from a more convenient and less expensive
 15        source, namely, the MindGeek Corporate Defendants that were also the subject
 16        of the Court’s July 29 Order. Indeed, Request No. 24 to the MindGeek
 17        Corporate Defendants also seeks information as to payments made to, among
 18        others, Mr. Antoon, and it would be unreasonably expensive and
 19        disproportionate to the needs of the case to require Mr. Antoon, an individual,
 20        to duplicate the search of the MindGeek Corporate Defendants.”
 21
 22        Request for Production No. 19: “All documents and communications related to
 23        any corporate reorganization by MindGeek and the purposes behind that
 24        reorganization.”
 25
 26        Response to Request for Production No. 19: “Mr. Antoon objects to this
 27        Request on the grounds that it is overbroad, unduly burdensome, and seeks
 28        documents beyond Mr. Antoon’s possession, custody, or control. Mr. Antoon
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  1        also objects to this Request to the extent it seeks communications or other
  2        documents that are protected by the attorney-client privilege, work product
  3        doctrine, or any other applicable privilege or immunity. Moreover, Mr. Antoon
  4        objects to the extent this Request seeks information beyond the scope of the
  5        jurisdictional discovery authorized by the Court’s July 29 Order. Mr. Antoon
  6        further objects to this Request to the extent it seeks documents outside the
  7        Relevant Time Period. Mr. Antoon also objects to this Request to the extent it
  8        seeks information that can be obtained from a more convenient and less
  9        expensive source, namely, the MindGeek Corporate Defendants. Indeed, Mr.
 10        Antoon interprets Request No. 14 to the MindGeek Corporate Defendants to
 11        seek the same     information as this Request, and it would be unreasonably
 12        expensive and disproportionate to the needs of the case to require Mr. Antoon,
 13        an individual, to duplicate the search of the MindGeek Corporate Defendants.”
 14
 15        Request for Production No. 20: “All documents or communications identifying
 16        the various subsidiaries comprising the business of MindGeek and the
 17        MindGeek Related Entities.”
 18
 19        Response to Request for Production No. 20: “Mr. Antoon objects to this
 20        Request on the grounds that it is overbroad, unduly burdensome, and seeks
 21        documents beyond Mr. Antoon’s possession, custody, or control. Moreover,
 22        Mr. Antoon objects to the extent this Request seeks information beyond the
 23        scope of the jurisdictional discovery authorized by the Court’s July 29 Order.
 24        Mr. Antoon further objects to this Request to the extent it seeks documents
 25        outside the Relevant Time Period. Mr. Antoon also objects to this Request to
 26        the extent it seeks information that can be obtained from a more convenient and
 27        less expensive source, namely, the MindGeek Corporate Defendants. Indeed,
 28        Mr. Antoon interprets Request No. 15 to the MindGeek Corporate Defendants
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  1         to seek the same information as this Request, and it would be unreasonably
  2         expensive and disproportionate to the needs of the case to require Mr. Antoon,
  3         an individual, to duplicate the search of the MindGeek Corporate Defendants.”
  4
  5         Request for Production No. 21: “All documents identifying the directors,
  6         managers, members, executives, and personnel of the various subsidiaries
  7         comprising the business of MindGeek and any MindGeek Related Entities.”
  8
  9         Response to Request for Production No. 21: “Mr. Antoon objects to this
 10         Request on the grounds that it is overbroad, unduly burdensome, and seeks
 11         documents beyond Mr. Antoon’s possession, custody, or control. Moreover,
 12         Mr. Antoon objects to the extent this Request seeks information beyond the
 13         scope of the jurisdictional discovery authorized by the Court’s July 29 Order.
 14         Among other things, this request is not related to the individuals or entities that
 15         are parties to this action. Mr. Antoon further objects to this Request to the extent
 16         it seeks documents outside the Relevant Time Period. Mr. Antoon also objects
 17         to this Request to the extent it seeks information that can be obtained from a
 18         more convenient and less expensive source, namely, the MindGeek Corporate
 19         Defendants. Indeed, Mr. Antoon interprets Request No. 16 to the MindGeek
 20         Corporate Defendants to seek the same information as this Request, and it
 21         would be unreasonably expensive and disproportionate to the needs of the case
 22         to require Mr. Antoon, an individual, to duplicate the search of the MindGeek
 23         Corporate Defendants.”
 24
 25         Request for Production No. 22: “All documents identifying the companies
 26         organized and existing under the laws of multiple jurisdictions where
 27         MindGeek has assets, operates businesses, or provides services and the nature
 28         of the assets, businesses, or services.”
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  1        Response to Request for Production No. 22: “Mr. Antoon objects to this
  2        Request on the grounds that it is overbroad, unduly burdensome, and seeks
  3        documents beyond Mr. Antoon’s possession, custody, or control. Mr. Antoon
  4        objects to the term “the companies” as used in this Request as vague,
  5        ambiguous, and overbroad; this Request seeks information about all companies
  6        that exist wherever the MindGeek Corporate Defendants have assets. Mr.
  7        Antoon therefore interprets “the companies” to mean the MindGeek Corporate
  8        Defendants. But even so limited, this Request is overbroad, seeking documents
  9        identifying all “assets, business or services” of the MindGeek Corporate
 10        Defendants over the entirety of the Relevant Time Period. Moreover, Mr.
 11        Antoon objects to the extent this Request seeks information beyond the scope
 12        of the jurisdictional discovery authorized by the Court’s July 29 Order. Mr.
 13        Antoon further objects to this Request to the extent it seeks documents outside
 14        the Relevant Time Period. Mr. Antoon also objects to this Request to the extent
 15        it   seeks information that can be obtained from a more convenient and less
 16        expensive source, namely, the MindGeek Corporate Defendants. Indeed, Mr.
 17        Antoon interprets Request No. 17 to the MindGeek Corporate Defendants to
 18        seek the same information as this Request, and it would be unreasonably
 19        expensive and disproportionate to the needs of the case to require Mr. Antoon,
 20        an individual, to duplicate the search of the MindGeek Corporate Defendants.”
 21
 22        Request for Production No. 23: “All documents identifying the entities
 23        providing services to MG Freesites LTD.
 24
 25        Response to Request for Production No. 23: “Mr. Antoon objects to this
 26        Request on the grounds that it is overbroad, unduly burdensome, and seeks
 27        documents beyond Mr. Antoon’s possession, custody, or control. Moreover,
 28        Mr. Antoon objects to the extent this Request seeks information beyond the
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  1        scope of the jurisdictional discovery authorized by the Court’s July 29 Order.
  2        Mr. Antoon objects to the term “the entities” as vague, ambiguous, and
  3        overbroad; this Request seeks information about all corporate entities that
  4        provide services to MG Freesites Ltd, which, among other things, plainly
  5        exceeds the discovery authorized by the Court’s July 29 Order. Mr. Antoon
  6        therefore interprets “the entities” to mean the MindGeek Corporate Defendants.
  7        Mr. Antoon further objects to this Request to the extent it seeks documents
  8        outside the Relevant Time Period. Mr. Antoon also objects to this Request to
  9        the extent it seeks information that can be obtained from a more convenient and
 10        less expensive source, namely, the MindGeek Corporate Defendants. Indeed,
 11        Mr. Antoon interprets Request No. 18 to the MindGeek Corporate Defendants
 12        to seek the same information as this Request, and it would be unreasonably
 13        expensive and disproportionate to the needs of the case to require Mr. Antoon,
 14        an individual, to duplicate the search of the MindGeek Corporate Defendants.”
 15
 16        Request for Production No. 24: “All documents identifying the bank accounts,
 17        services, payments, written agreements, third parties providing transfer pricing
 18        studies, pricing studies and price ranges, accounting, and tax determinations.”
 19
 20        Response to Request No. 24: “Mr. Antoon objects to this Request on the
 21        grounds that it is overbroad, unduly burdensome, and seeks documents beyond
 22        Mr. Antoon’s possession, custody, or control. Mr. Antoon objects to this
 23        Request as vague and ambiguous because it seeks information about “bank
 24        accounts, services, payments, written agreements, third parties providing
 25        transfer pricing studies, pricing studies and price ranges, accounting, and tax
 26        determinations” of an unidentified person or entity. Mr. Antoon also objects to
 27        this Request to the extent it seeks communications or other documents that are
 28        protected by the attorney-client privilege, work product doctrine, or any other
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  1        applicable privilege or immunity. Moreover, Mr. Antoon objects to the extent
  2        this Request seeks information beyond the scope of the jurisdictional discovery
  3        authorized by the Court’s July 29 Order. Mr. Antoon further objects to this
  4        Request to the extent it seeks documents outside the Relevant Time Period. Mr.
  5        Antoon also objects to this Request to the extent it seeks information that can
  6        be obtained from a more convenient and less expensive source, namely, the
  7        MindGeek Corporate Defendants. Indeed, Mr. Antoon interprets Request No.
  8        19 to the MindGeek Corporate Defendants to seek the same information as this
  9        Request, and it would be unreasonably expensive and disproportionate to the
 10        needs of the case to require Mr. Antoon, an individual, to duplicate the search
 11        of the MindGeek Corporate Defendants.”
 12
 13        Request for Production No. 25: “All audited financial statements and all related
 14        communications with auditors regarding the same.”
 15
 16        Response to Request for Production No. 25: “Mr. Antoon objects to this
 17        Request on the grounds that it is overbroad, unduly burdensome, and seeks
 18        documents beyond Mr. Antoon’s possession, custody, or control. Mr. Antoon
 19        objects to this Request as vague and ambiguous because it seeks information
 20        about “audited financial statements” of an unidentified person or entity.
 21        Moreover, Mr. Antoon objects to the extent this Request seeks information
 22        beyond the scope of the jurisdictional discovery authorized by the Court’s July
 23        29 Order. Mr. Antoon further objects to this Request to the extent it seeks
 24        documents outside the Relevant Time Period. Mr. Antoon also objects to this
 25        Request to the extent it seeks information that can be obtained from a more
 26        convenient and less expensive source, namely, the MindGeek Corporate
 27        Defendants that were also the subject of the Court’s July 29 Order. Indeed, Mr.
 28        Antoon interprets Request No. 20 to the MindGeek Corporate Defendants to
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  1        seek the same information as this Request, and it would be unreasonably
  2        expensive and disproportionate to the needs of the case to require Mr. Antoon,
  3        an individual, to duplicate the search of the MindGeek Corporate Defendants.”
  4
  5        Request for Production No. 26: “All documents identifying the distinct legal
  6        entities of MindGeek and any of the MindGeek Related Entities.”
  7
  8        Response to Request for Production No. 26: “Mr. Antoon objects to this
  9        Request on the grounds that it is overbroad, unduly burdensome, and seeks
 10        documents beyond Mr. Antoon’s possession, custody, or control. Moreover,
 11        Mr. Antoon objects to the extent this Request seeks information beyond the
 12        scope of the jurisdictional discovery authorized by the Court’s July 29 Order.
 13        Mr. Antoon further objects to this Request to the extent it seeks documents
 14        outside the Relevant Time Period. Mr. Antoon also objects to this Request to
 15        the extent it seeks information that can be obtained from a more convenient and
 16        less expensive source, namely, the MindGeek Corporate Defendants. Indeed,
 17        Mr. Antoon interprets Request No. 21 to the MindGeek Corporate Defendants
 18        to seek the same information as this Request, and it would be unreasonably
 19        expensive and disproportionate to the needs of the case to require Mr. Antoon,
 20        an individual, to duplicate the search of the MindGeek Corporate Defendants.”
 21
 22        Request for Production No. 27: “All documents related to the support services
 23        MG Global Entertainment has provided.”
 24
 25        Response to Request for Production No. 27: “Mr. Antoon objects to this
 26        Request on the grounds that it is overbroad, unduly burdensome, and seeks
 27        documents beyond Mr. Antoon’s possession, custody, or control. Mr. Antoon
 28        objects to the term “support services” as vague and ambiguous and therefore
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  1        interprets “support services” to mean services provided by MG Global
  2        Entertainment Inc. to other MindGeek Corporate Defendants. Mr. Antoon also
  3        objects to this Request to the extent it seeks communications or other
  4        documents that are protected by the attorney-client privilege, work product
  5        doctrine, or any other applicable privilege or immunity. Moreover, Mr. Antoon
  6        objects to the extent this Request seeks information beyond the scope of the
  7        jurisdictional discovery authorized by the Court’s July 29 Order. Mr. Antoon
  8        further objects to this Request to the extent it seeks documents outside the
  9        Relevant Time Period. Mr. Antoon also objects to this Request to the extent it
 10        seeks information that can be obtained from a more convenient and less
 11        expensive source, namely, the MindGeek Corporate Defendants that were also
 12        the subject of the Court’s July 29 Order. Indeed, Mr. Antoon interprets Request
 13        No. 22 to the MindGeek Corporate Defendants to seek the same information as
 14        this Request, and it would be unreasonably expensive and disproportionate to
 15        the needs of the case to require Mr. Antoon, an individual, to duplicate the
 16        search of the MindGeek Corporate Defendants.”
 17
 18        Request for Production No. 28: “All documents related to the services provided
 19        by 9219-1568 Quebec Inc.”
 20
 21        Response to Request for Production No. 28: “Mr. Antoon objects to this
 22        Request on the grounds that it is overbroad, unduly burdensome, and seeks
 23        documents beyond Mr. Antoon’s possession, custody, or control. Mr. Antoon
 24        objects to the term “services” as vague and ambiguous and therefore interprets
 25        “services” to mean services provided by 9219- 1568 Quebec Inc. to other
 26        MindGeek Corporate Defendants. Mr. Antoon also objects to this Request to
 27        the extent it seeks communications or other documents that are protected by the
 28        attorney-client privilege, work product doctrine, or any other applicable
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  1        privilege or immunity. Moreover, Mr. Antoon objects to the extent this Request
  2        seeks information beyond the scope of the jurisdictional discovery authorized
  3        by the Court’s July 29 Order. Mr. Antoon further objects to this Request to the
  4        extent it seeks documents outside the Relevant Time Period. Mr. Antoon also
  5        objects to this Request to the extent it seeks information that can be obtained
  6        from a more convenient and less expensive source, namely, the MindGeek
  7        Corporate Defendants. Indeed, Mr. Antoon interprets Request No. 23 to the
  8        MindGeek Corporate Defendants to seek the same information as this Request,
  9        and it would be unreasonably expensive and disproportionate to the needs of
 10        the case to require Mr. Antoon, an individual, to duplicate the search of the
 11        MindGeek Corporate Defendants.”
 12
 13        Request for Production No. 29: “All documents relating to MindGeek related
 14        payments, investments, or loans to, in, or for any personal affairs, expenses,
 15        entities, businesses, real estate, or investments related to You or any of the
 16        Individual Defendants, or any of their family members or entities in which
 17        either You or a family² member holds a direct or indirect interest.”
 18
 19        Response to Request for Production No. 29: “Mr. Antoon objects to this
 20        Request on the grounds that it is overbroad, unduly burdensome, and seeks
 21        documents beyond Mr. Antoon’s possession, custody, or control. Mr. Antoon
 22        also objects to this Request to the extent it seeks communications or other
 23        documents that are protected by the attorney-client privilege, work product
 24        doctrine, or any other applicable privilege or immunity. Moreover, Mr. Antoon
 25        objects to the extent this Request seeks information beyond the scope of the
 26        jurisdictional discovery authorized by the Court’s July 29 Order. Among other
 27        things, information about Mr. Antoon’s family members is wholly unrelated to
 28        any claim in this case or to whether personal jurisdiction exists over Mr.
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  1        Antoon. Mr. Antoon further objects to this Request to the extent it seeks
  2        documents outside the Relevant Time Period. Mr. Antoon also objects to this
  3        Request to the extent it seeks information that can be obtained from a more
  4        convenient and less expensive source, namely, the MindGeek Corporate
  5        Defendants. Indeed, Mr. Antoon interprets Request No. 24 to the MindGeek
  6        Corporate Defendants to seek the same information as this Request, and it
  7        would be unreasonably expensive and disproportionate to the needs of the case
  8        to require Mr. Antoon, an individual, to duplicate the search of the MindGeek
  9        Corporate Defendants.”
 10
 11        Request for Production No. 30: “All documents related to the purported
 12        resignation of You and David Tassillo as CEO and COO of MindGeek
 13        respectively, including, but not limited to, any documents related to any
 14        investigation, allegations, or reports of their using Mindgeek assets and monies
 15        for their personal affairs, investments, or businesses.”
 16
 17        Response to Request for Production No. 30: “Mr. Antoon objects to this
 18        Request on the grounds that it is overbroad, unduly burdensome, and seeks
 19        documents beyond Mr. Antoon’s possession, custody, or control. Mr. Antoon
 20        also objects to this Request to the extent it seeks communications or other
 21        documents that are protected by the attorney-client privilege, work product
 22        doctrine, or any other applicable privilege or immunity. Moreover, Mr. Antoon
 23        objects to the extent this Request seeks information beyond the scope of the
 24        jurisdictional discovery authorized by the Court’s July 29 Order. Among other
 25        things, Mr. Antoon’s resignation occurred after Plaintiff initiated this action
 26        and is therefore not jurisdictionally relevant. Mr. Antoon further objects to this
 27        Request to the extent it seeks documents outside the Relevant Time Period. Mr.
 28        Antoon also objects to this Request to the extent it seeks information that can
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  1         be obtained from a more convenient and less expensive source, namely, the
  2         MindGeek Corporate Defendants. Indeed, Mr. Antoon interprets Request No.
  3         25 to the MindGeek Corporate Defendants to seek the same information as this
  4         Request, and it would be unreasonably expensive and disproportionate to the
  5         needs of the case to require Mr. Antoon, an individual, to duplicate the search
  6         of the MindGeek Corporate Defendants.”
  7
  8         Request for Production No. 32: “All contact lists maintained by You or any of
  9         the Individual Defendants as well as documents sufficient to show all cell and
 10         other phone numbers and messaging services used by each individual.”
 11
 12         Response to Request for Production No. 32: “Mr. Antoon objects to this
 13         Request on the grounds that it is overbroad, unduly burdensome, and seeks
 14         documents beyond Mr. Antoon’s possession, custody, or control. Moreover,
 15         Mr. Antoon objects to the extent this Request seeks information beyond the
 16         scope of the jurisdictional discovery authorized by the Court’s July 29 Order.
 17         Mr. Antoon further objects to this Request to the extent it seeks documents
 18         outside the Relevant Time Period. Mr. Antoon also objects to this Request to
 19         the extent it seeks information that can be obtained from a more convenient and
 20         less expensive source, namely, the MindGeek Corporate Defendants. Indeed,
 21         Mr. Antoon interprets Request No. 27 to the MindGeek Corporate Defendants
 22         to seek the same information as this Request, and it would be unreasonably
 23         expensive and disproportionate to the needs of the case to require Mr. Antoon,
 24         an individual, to duplicate the search of the MindGeek Corporate Defendants.
 25         Subject to the foregoing objections, Mr. Antoon refers Plaintiff to and
 26         incorporates herein his response to Interrogatory No. 6, and agrees to meet and
 27         confer should there be remaining questions on this topic.”
 28
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  1        Request for Production No. 33: “All documents or communications identifying,
  2        depicting, explaining, or describing any programs or technology MindGeek
  3        acquired, employed, used, or considered to moderate, monitor, format,
  4        optimize, filter, review, screen, or remove content on its websites, including the
  5        dates such technology was acquired, employed, or considered.”
  6
  7        Response to Request for Production No. 33: “Mr. Antoon objects to this
  8        Request on the grounds that it is overbroad, unduly burdensome, and seeks
  9        documents beyond Mr. Antoon’s possession, custody, or control. Mr. Antoon
 10        also objects to this Request to the extent it seeks communications or other
 11        documents that are protected by the attorney-client privilege, work product
 12        doctrine, or any other applicable privilege or immunity. Moreover, Mr. Antoon
 13        objects to the extent this Request seeks information beyond the scope of the
 14        jurisdictional discovery authorized by the Court’s July 29 Order. Mr. Antoon
 15        further objects to this Request to the extent it seeks documents outside the
 16        Relevant Time Period. Mr. Antoon also objects to this Request to the extent it
 17        seeks information that can be obtained from a more convenient and less
 18        expensive source, namely, the MindGeek Corporate Defendants. Indeed, Mr.
 19        Antoon interprets Request No. 28 to the MindGeek Corporate Defendants to
 20        seek the same information as this Request, and it would be unreasonably
 21        expensive and disproportionate to the needs of the case to require Mr. Antoon,
 22        an individual, to duplicate the search of the MindGeek Corporate Defendants.
 23
 24        Request for Production No. 34: “All documents or communications related to
 25        MindGeek’s policies, manuals, practices, processes, and rules for moderating,
 26        monitoring, formatting, optimizing, filtering, reviewing, screening, or
 27        removing content on its platforms and websites, including all prohibited words,
 28        phrases, categories, and “genres” and all processes and reports concerning
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  1        search engine optimization of such content.”
  2
  3        Response to Request for Production No. 34: “Mr. Antoon objects to this
  4        Request on the grounds that it is overbroad, unduly burdensome, and seeks
  5        documents beyond Mr. Antoon’s possession, custody, or control. Mr. Antoon
  6        also objects to this Request to the extent it seeks communications or other
  7        documents that are protected by the attorney-client privilege, work product
  8        doctrine, or any other applicable privilege or immunity. Moreover, Mr. Antoon
  9        objects to the extent this Request seeks information beyond the scope of the
 10        jurisdictional discovery authorized by the Court’s July 29 Order. Among other
 11        things, this Request is not limited to Pornhub, which is the only tubesite on
 12        which Plaintiff alleges content depicting her was uploaded. Mr. Antoon further
 13        objects to this Request to the extent it seeks documents outside the Relevant
 14        Time Period. Mr. Antoon also objects to this Request to the extent it seeks
 15        information that can be obtained from a more convenient and less expensive
 16        source, namely, the MindGeek Corporate Defendants. Indeed, Mr. Antoon
 17        interprets Request No. 29 to the MindGeek Corporate Defendants to seek the
 18        same information as this Request, and it would be unreasonably expensive and
 19        disproportionate to the needs of the case to require Mr. Antoon, an individual,
 20        to duplicate the search of the MindGeek Corporate Defendants.”
 21
 22        Request for Production No. 35: “All documents and communications
 23        describing MindGeek’s policies and procedures for preserving hard copy and
 24        electronic documents and content.”
 25
 26        Response to Request for Production No. 35: “Mr. Antoon objects to this
 27        Request on the grounds that it is overbroad, unduly burdensome, and seeks
 28        documents beyond Mr. Antoon’s possession, custody, or control. Mr. Antoon
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  1        also objects to this Request to the extent it seeks communications or other
  2        documents that are protected by the attorney-client privilege, work product
  3        doctrine, or any other applicable privilege or immunity. Moreover, Mr. Antoon
  4        objects to the extent this Request seeks information beyond the scope of the
  5        jurisdictional discovery authorized by the Court’s July 29 Order. Mr. Antoon
  6        further objects to this Request to the extent it seeks documents outside the
  7        Relevant Time Period. Mr. Antoon also objects to this Request to the extent it
  8        seeks information that can be obtained from a more convenient and less
  9        expensive source, namely, the MindGeek Corporate Defendants. Indeed, Mr.
 10        Antoon interprets Request No. 30 to the MindGeek Corporate Defendants to
 11        seek the same information as this Request, and it would be unreasonably
 12        expensive and disproportionate to the needs of the case to require Mr. Antoon,
 13        an individual, to duplicate the search of the MindGeek Corporate Defendants.”
 14
 15        Request for Production No. 36: “All documents and communications reflecting
 16        rosters, schedules, training materials, performance reviews and metrics for
 17        personnel or outside contractors or vendors involved in moderating, formatting,
 18        optimization, filtering, screening, or removing content from MindGeek’s
 19        platforms and websites.”
 20
 21        Response to Request for Production No. 36: “Mr. Antoon objects to this
 22        Request on the grounds that it is overbroad, unduly burdensome, and seeks
 23        documents beyond Mr. Antoon’s possession, custody, or control. Mr. Antoon
 24        also objects to this Request to the extent it seeks communications or other
 25        documents that are protected by the attorney-client privilege, work product
 26        doctrine, or any other applicable privilege or immunity. Moreover, Mr. Antoon
 27        objects to the extent this Request seeks information beyond the scope of the
 28        jurisdictional discovery authorized by the Court’s July 29 Order. Among other
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  1        things, this Request is not limited to Pornhub, which is the only tubesite on
  2        which Plaintiff alleges content depicting her was uploaded. Mr. Antoon further
  3        objects to this Request to the extent it seeks documents outside the Relevant
  4        Time Period. Mr. Antoon also objects to this Request to the extent it seeks
  5        information that can be obtained from a more convenient and less expensive
  6        source, namely, the MindGeek Corporate Defendants that were also the subject
  7        of the Court’s July 29 Order. Indeed, Mr. Antoon interprets Request No. 31 to
  8        the   MindGeek Corporate Defendants to seek the same information as this
  9        Request, and it would be unreasonably expensive and disproportionate to the
 10        needs of the case to require Mr. Antoon, an individual, to duplicate the search
 11        of the MindGeek Corporate Defendants.”
 12
 13        Request for Production No. 37: “All documents and communications
 14        identifying all content categories, “genres,” or similar descriptors MindGeek
 15        has included, recommended, or offered to users of its platforms and websites.”
 16
 17        Response to Request for Production No. 37: “Mr. Antoon objects to this
 18        Request on the grounds that it is overbroad, unduly burdensome, and seeks
 19        documents beyond Mr. Antoon’s possession, custody, or control. Moreover,
 20        Mr. Antoon objects to the extent this Request seeks information beyond the
 21        scope of the jurisdictional discovery authorized by the Court’s July 29 Order.
 22        Among other things, this Request is not limited to Pornhub, which is the only
 23        tubesite on which Plaintiff alleges content depicting her was uploaded. Mr.
 24        Antoon further objects to this Request to the extent it seeks documents outside
 25        the Relevant Time Period. Mr. Antoon also objects to this Request to the extent
 26        it seeks information that can be obtained from a more convenient and less
 27        expensive source, namely, the MindGeek Corporate Defendants. Indeed, Mr.
 28        Antoon interprets Request No. 32 to the MindGeek Corporate Defendants to
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  1        seek the same information as this Request, and it would be unreasonably
  2        expensive and disproportionate to the needs of the case to require Mr. Antoon,
  3        an individual, to duplicate the search of the MindGeek Corporate Defendants.”
  4
  5        Request for Production No. 38: “All documents consisting of, or reflecting,
  6        reports, communications, data, or actions related to content reviewed or
  7        screened by any technology, programs, or internal or external personnel
  8        concerning actual or suspected CSAM, nonconsensual, prohibited, or illegal
  9        content.”
 10
 11        Response to Request for Production No. 38: “Mr. Antoon objects to this
 12        Request on the grounds that it is overbroad, unduly burdensome, and seeks
 13        documents beyond Mr. Antoon’s possession, custody, or control. Mr. Antoon
 14        also objects to this Request to the extent it seeks communications or other
 15        documents that are protected by the attorney-client privilege, work product
 16        doctrine, or any other applicable privilege or immunity. Moreover, Mr. Antoon
 17        objects to the extent this Request seeks information beyond the scope of the
 18        jurisdictional discovery authorized by the Court’s July 29 Order. Among other
 19        things, this Request is not limited to Pornhub, which is the only tubesite on
 20        which Plaintiff alleges content depicting her was uploaded. Mr. Antoon further
 21        objects to this Request to the extent it seeks documents outside the Relevant
 22        Time Period. Mr. Antoon also objects to this Request to the extent it seeks
 23        information that can be obtained from a more convenient and less expensive
 24        source, namely, the MindGeek Corporate Defendants. Indeed, Mr. Antoon
 25        interprets Request No. 33 to the MindGeek Corporate Defendants to seek the
 26        same information as this Request, and it would be unreasonably expensive and
 27        disproportionate to the needs of the case to require Mr. Antoon, an individual,
 28        to duplicate the search of the MindGeek Corporate Defendants.”
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  1        Request for Production No. 39: “All documents concerning complaints,
  2        reports, communications, and requests concerning, non-consensual, prohibited,
  3        or illegal content on any MindGeek platform or website,          including all
  4        documents and communications with or concerning any associated
  5        investigation, actions, and internal and external communications concerning
  6        the same.”
  7
  8        Response to Request for Production No. 39: “Mr. Antoon objects to this
  9        Request on the grounds that it is overbroad, unduly burdensome, and seeks
 10        documents beyond Mr. Antoon’s possession, custody, or control. Mr. Antoon
 11        also objects to this Request to the extent it seeks communications or other
 12        documents that are protected by the attorney-client privilege, work product
 13        doctrine, or any other applicable privilege or immunity. Moreover, Mr. Antoon
 14        objects to the extent this Request seeks information beyond the scope of the
 15        jurisdictional discovery authorized by the Court’s July 29 Order. Among other
 16        things, this Request is not limited to Pornhub, which is the only tubesite on
 17        which Plaintiff alleges content depicting her was uploaded. Mr. Antoon also
 18        objects to the term “actions” as vague and ambiguous. Mr. Antoon further
 19        objects to this Request to the extent it seeks documents outside the Relevant
 20        Time Period. Mr. Antoon also objects to this Request to the extent it seeks
 21        information that can be obtained from a more convenient and less expensive
 22        source, namely, the MindGeek Corporate Defendants. Indeed, Mr. Antoon
 23        interprets Request No. 34 to the MindGeek Corporate Defendants to seek the
 24        same information as this Request, and it would be unreasonably expensive and
 25        disproportionate to the needs of the case to require Mr. Antoon, an individual,
 26        to duplicate the search of the MindGeek Corporate Defendants.”
 27
 28        Request for Production No. 40: “All documents and communications reflecting
                                            40               CASE NO. 21-CV-04920-CJC-ADS
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  1        processes, standards, and technologies that MindGeek employed to prevent the
  2        presence of child pornography, CSAM, non-consensual, prohibited, or illegal
  3        content on its platforms or websites; the dates on which such processes,
  4        standards, and technologies were employed; and the people most
  5        knowledgeable about each.”
  6
  7        Response to Request for Production No. 40: “Mr. Antoon objects to this
  8        Request on the grounds that it is overbroad, unduly burdensome, and seeks
  9        documents beyond Mr. Antoon’s possession, custody, or control. Mr. Antoon
 10        also objects to this Request to the extent it seeks   communications or other
 11        documents that are protected by the attorney-client privilege, work product
 12        doctrine, or any other applicable privilege or immunity. Moreover, Mr. Antoon
 13        objects to the extent this Request seeks information beyond the scope of the
 14        jurisdictional discovery authorized by the Court’s July 29 Order. Among other
 15        things, this Request is not limited to Pornhub, which is the only tubesite on
 16        which Plaintiff alleges content depicting her was uploaded. Mr. Antoon further
 17        objects to this Request to the extent it seeks documents outside the Relevant
 18        Time Period. Mr. Antoon also objects to this Request to the extent it seeks
 19        information that can be obtained from a more convenient and less expensive
 20        source, namely, the MindGeek Corporate Defendants that were also the subject
 21        of the Court’s July 29 Order. Indeed, Mr. Antoon interprets Request No. 35 to
 22        the MindGeek Corporate Defendants to seek the same information as this
 23        Request, and it would be unreasonably expensive and disproportionate to the
 24        needs of the case to require Mr. Antoon, an individual, to duplicate the search
 25        of the MindGeek Corporate Defendants.”
 26
 27        Request for Production No. 41: “All documents and communications reflecting
 28        policies, practices, rules, guidelines, programs, or plans concerning the
                                             41              CASE NO. 21-CV-04920-CJC-ADS
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  1         moderation, monitoring, review, formatting, analysis or search and social
  2         media use and optimization of content on MindGeek platforms and websites,
  3         including, but not limited to, with respect to content uploaded with associated
  4         languages other than English.”
  5
  6         Response to Request for Production No. 41: “Mr. Antoon objects to this
  7         Request on the grounds that it is overbroad, unduly burdensome, and seeks
  8         documents beyond Mr. Antoon’s possession, custody, or control. Mr. Antoon
  9         also objects to this Request to the extent it seeks communications or other
 10         documents that are protected by the attorney-client privilege, work product
 11         doctrine, or any other applicable privilege or immunity. Moreover, Mr. Antoon
 12         objects to the extent this Request seeks information beyond the scope of the
 13         jurisdictional discovery authorized by the Court’s July 29 Order. Among other
 14         things, this Request is not limited to Pornhub, which is the only tubesite on
 15         which Plaintiff alleges content depicting her was uploaded. Mr. Antoon further
 16         objects to this Request to the extent it seeks documents outside the Relevant
 17         Time Period. Mr. Antoon also objects to this Request to the extent it seeks
 18         information that can be obtained from a more convenient and less expensive
 19         source, namely, the MindGeek Corporate Defendants. Indeed, Mr. Antoon
 20         interprets Request No. 36 to the MindGeek Corporate Defendants to seek the
 21         same information as this Request, and it would be unreasonably expensive and
 22         disproportionate to the needs of the case to require Mr. Antoon, an individual,
 23         to duplicate the search of the MindGeek Corporate Defendants.”
 24
 25         Request for Production No. 42: “All documents and communications
 26         concerning MindGeek’s policies, practices, and compliance related to 18
 27         U.S.C. § 2257.”
 28
                                           42               CASE NO. 21-CV-04920-CJC-ADS
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  1        Response to Request for Production No. 42: “Mr. Antoon objects to this
  2        Request on the grounds that it is overbroad, unduly burdensome, and seeks
  3        documents beyond Mr. Antoon’s possession, custody, or control. Mr. Antoon
  4        also objects to this Request to the extent it seeks communications or other
  5        documents that are protected by the attorney-client privilege, work product
  6        doctrine, or any other applicable privilege or immunity. Moreover, Mr. Antoon
  7        objects to the extent this Request seeks information beyond the scope of the
  8        jurisdictional discovery authorized by the Court’s July 29 Order. Among other
  9        things, this Request is not limited to Pornhub, which is the only tubesite on
 10        which Plaintiff alleges content depicting her was uploaded. Mr. Antoon further
 11        objects to this Request to the extent it seeks documents outside the Relevant
 12        Time Period. Mr. Antoon also objects to this Request to the extent it seeks
 13        information that can be obtained from a more convenient and less expensive
 14        source, namely, the MindGeek Corporate Defendants that were also the subject
 15        of the Court’s July 29 Order. Indeed, Mr. Antoon interprets Request No. 37
 16        to the MindGeek Corporate Defendants to seek the same information as this
 17        Request, and it would be unreasonably expensive and disproportionate to the
 18        needs of the case to require Mr. Antoon, an individual, to duplicate the search
 19        of the MindGeek Corporate Defendants.”
 20
 21        Request for Production No. 46: “Any internal or external expert or consultant
 22        reports provided to MindGeek concerning its technology, processes, policies,
 23        and practices concerning CSAM, nonconsensual, prohibited, or illegal
 24        content.”
 25
 26        Response to Request for Production No. 46: “Mr. Antoon objects to this
 27        Request on the grounds that it is overbroad, unduly burdensome, and seeks
 28        documents beyond Mr. Antoon’s possession, custody, or control. Mr. Antoon
                                         43                CASE NO. 21-CV-04920-CJC-ADS
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  1        also objects to this Request to the extent it seeks communications or other
  2        documents that are protected by the attorney-client privilege, work product
  3        doctrine, or any other applicable privilege or immunity. Moreover, Mr. Antoon
  4        objects to the extent this Request seeks information beyond the scope of the
  5        jurisdictional discovery authorized by the Court’s July 29 Order. Mr. Antoon
  6        further objects to this Request to the extent it seeks documents outside the
  7        Relevant Time Period. Mr. Antoon also objects to this Request to the extent it
  8        seeks information that can be obtained from a more convenient and less
  9        expensive source, namely, the MindGeek Corporate Defendants. Indeed, Mr.
 10        Antoon interprets Request No. 40 to the MindGeek Corporate Defendants to
 11        seek the same information as this Request, and it would be unreasonably
 12        expensive and disproportionate to the needs of the case to require Mr. Antoon,
 13        an individual, to duplicate the search of the MindGeek Corporate Defendants.”
 14
 15        Request for Production No. 49: “All documents or communications concerning
 16        any internal or external review of MindGeek content for CSAM, non-
 17        consensual, prohibited, or illegal content, including, but not limited to, the
 18        review undertaken beginning in or about the end of 2020 and the beginning of
 19        2021 and the review that led to the report to NCMEC that was described in the
 20        June 20, 2022 New Yorker magazine.”
 21
 22        Response to Request for Production No. 49: “Mr. Antoon objects to this
 23        Request on the grounds that it is overbroad, unduly burdensome, and seeks
 24        documents beyond Mr. Antoon’s possession, custody, or control. Mr. Antoon
 25        also objects to this Request to the extent it seeks communications or other
 26        documents that are protected by the attorney-client privilege, work product
 27        doctrine, or any other applicable privilege or immunity.        Moreover, Mr.
 28        Antoon objects to the extent this Request seeks information beyond the scope
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  1        of the jurisdictional discovery authorized by the Court’s July 29 Order. Among
  2        other things, this Request is not limited to Pornhub, which is the only tubesite
  3        on which Plaintiff alleges content depicting her was uploaded. Mr. Antoon
  4        further objects to this Request to the extent it seeks documents outside the
  5        Relevant Time Period. Mr. Antoon also objects to this Request to the extent it
  6        seeks information that can be obtained from a more convenient and less
  7        expensive source, namely, the MindGeek Corporate Defendants. Indeed, Mr.
  8        Antoon interprets Request No. 43 to the MindGeek Corporate Defendants to
  9        seek the same information as this Request, and it would be unreasonably
 10        expensive and disproportionate to the needs of the case to require Mr. Antoon,
 11        an individual, to duplicate the search of the MindGeek Corporate Defendants.”
 12
 13        Request for Production No. 52: “All documents concerning communications
 14        with the media, news organizations, journalists, legislators, law enforcement,
 15        regulators, quasi- governmental agencies, media relations companies, the Free
 16        Speech Coalition, 5wPR, or on social media platforms either directly, through
 17        aliases, or through agents, surrogates, or other social media participants
 18        concerning CSAM, nonconsensual, prohibited, or illegal content on
 19        MindGeek’s platforms or websites or internal or external news, media or other
 20        reports, allegations, or complaints regarding the same.”
 21
 22        Response to Request for Production No. 52: “Mr. Antoon objects to this
 23        Request on the grounds that it is overbroad, unduly burdensome, and seeks
 24        documents beyond Mr. Antoon’s possession, custody, or control. Mr. Antoon
 25        also objects to this Request to the extent it seeks communications or other
 26        documents that are protected by the attorney-client privilege, work product
 27        doctrine, or any other applicable privilege or immunity. Moreover, Mr. Antoon
 28        objects to the extent this Request seeks information beyond the scope of the
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  1        jurisdictional discovery authorized by the Court’s July 29 Order. Mr. Antoon
  2        further objects to this Request to the extent it seeks documents outside the
  3        Relevant Time Period. Mr. Antoon also objects to this Request to the extent it
  4        seeks information that can be obtained from a more convenient and less
  5        expensive source, namely, the MindGeek Corporate Defendants. Indeed, Mr.
  6        Antoon interprets Request No. 46 to the MindGeek Corporate Defendants to
  7        seek the same information as this Request, and it would be unreasonably
  8        expensive and disproportionate to the needs of the case to require Mr. Antoon,
  9        an individual, to duplicate the search of the MindGeek Corporate Defendants.”
 10
           B.    Interrogatories in Dispute
 11
           Interrogatory No. 2: “Describe in detail each transaction during the Relevant
 12
           Time Period in which ownership, shares, indebtedness, secured interests,
 13
           options, derivatives, or other capital related transactions occurred involving a
 14
           MindGeek Related Entity, and identify the direct and indirect participants in
 15
           those transactions.”
 16
 17        Response to Interrogatory No. 2: “Mr. Antoon objects to this Interrogatory on
 18        the grounds that it is overbroad, unduly burdensome, and seeks information
 19        beyond Mr. Antoon’s present knowledge, custody, or control. Mr. Antoon also
 20        objects to this Interrogatory to the extent it seeks information that can be
 21        obtained from a more convenient and less expensive source, namely, the
 22        MindGeek Corporate Defendants that were also the subject of the Court’s July
 23        29 Order. Moreover, Mr. Antoon objects to the term “other capital related
 24        transactions” as vague and ambiguous.
 25
 26
 27
 28        Interrogatory No. 3: “Identify the date, participants, and content for every
                                            46                CASE NO. 21-CV-04920-CJC-ADS
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  1         presentation or communication of financial or other economic performance to
  2         investors, lenders, or others with direct or indirect financial interests in any
  3         MindGeek Related Entity.”
  4
  5         Response to Interrogatory No. 3: “Mr. Antoon objects to this Interrogatory on
  6         the grounds that it is overbroad, unduly burdensome, and seeks information
  7         beyond Mr. Antoon’s present knowledge, custody, or control. Moreover, Mr.
  8         Antoon objects to the extent this Interrogatory seeks information beyond the
  9         scope of the jurisdictional discovery authorized by the Court’s July 29 Order.
 10         Mr. Antoon also objects to this Interrogatory to the extent it seeks information
 11         that can be obtained from a more convenient and less expensive source, namely,
 12         the MindGeek Corporate Defendants that were also the subject of the Court’s
 13         July 29 Order. Mr. Antoon further objects to this Interrogatory to the extent it
 14         seeks information that is not proportional to the needs of the case. Mr. Antoon
 15         also objects to the terms “other economic performance” and “indirect financial
 16         interests” as vague and ambiguous. Subject to these objections,
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  9        Interrogatory No. 4: “Describe in detail all direct or indirect jurisdictional
 10        contacts within the relevant jurisdictions, i.e. the United States and California,
 11        that You or Your agents, or any of the MindGeek Related Entities and their
 12        owners, executives, and employees, have or had during the Relevant Time
 13        Period, including but not limited to, offices, residences, and real estate located
 14        in the relevant jurisdictions; personnel or vendors employed, retained, or paid
 15        located in the relevant jurisdictions; trips to the relevant jurisdictions; and
 16        revenues, profits, expenses, taxes earned or paid in or from the relevant
 17        jurisdictions; and communications or business relationships with, to, or in
 18        either of the relevant jurisdictions.”
 19
 20        Response to Interrogatory No. 4: “Mr. Antoon objects to this Interrogatory on
 21        the grounds that it is overbroad, unduly burdensome, and seeks information
 22        beyond Mr. Antoon’s present knowledge, custody, or control. Mr. Antoon also
 23        objects to this Interrogatory to the extent it seeks information that can be
 24        obtained from a more convenient and less expensive source, namely, the
 25        MindGeek Corporate Defendants that were also the subject of the Court’s July
 26        29 Order. Mr. Antoon further objects to this Interrogatory to the extent it calls
 27        for opinions and conclusions of law. Moreover, Mr. Antoon objects to this
 28        Interrogatory to the extent it seeks information beyond the scope of the
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  1         jurisdictional discovery authorized by the Court’s July 29 Order.
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 25         Interrogatory No. 6: “Identify all social media accounts, email accounts, cell
 26         numbers, text, or other communications services or applications used by the
 27         Individual Defendants directly or through any MindGeek Related Entity during
 28         the Relevant Time Period.”
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  1         Response to Interrogatory No. 6: “Mr. Antoon objects to this Interrogatory on
  2         the grounds that it is overbroad, unduly burdensome, and seeks information
  3         beyond Mr. Antoon’s present knowledge, custody, or control. Mr. Antoon
  4         also objects to this Interrogatory to the extent it seeks information that can be
  5         obtained from a more convenient and less expensive source, namely, the
  6         MindGeek Entities that were also the subject of the Court’s July 29 Order.
  7         Moreover, Mr. Antoon objects to the extent this Interrogatory seeks
  8         information beyond the scope of the jurisdictional discovery granted by the
  9         Court’s July 29 Order. Subject to these objections, Mr. Antoon
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 25 III.    PLAINTIFF’S POSITION
 26         A.    Plaintiff’s Motion To Compel
 27         Pursuant to the Court’s July 29, 2022 Order, Plaintiff served Antoon with her
 28 First Set of Interrogatories on August 17, 2022 and her First Requests for Production
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  1 of Documents on September 20, 2022. See Doyle Decl., Exhibits 1 and 2. On October
  2 17, 2022 and October 20, 2022, Antoon served objections and responses to Plaintiff’s
  3 ROGs and RFPs, respectively, see Doyle Decl., Exhibits 4 and 5. Antoon failed to
  4 respond substantively. 4
  5         Throughout the entire time period in which Plaintiff’s CSAM was uploaded,
  6 optimized, disseminated, and capitalized on by the defendants, Antoon was serving
  7 in various management and executive roles within the MindGeek enterprise,
  8 including service as a Chief Executive Officer, as director and/or manager of a
  9 number of the defendant MindGeek Entities and their supporting subsidiaries, and
 10 that he was an officer for the entity purportedly responsible for content management
 11 services. (See Dkt. 224-8, Exhibit 7, MG Resp. to ROG No. 5; Dkt. 139-3, Andreou
 12 Declaration). He has also conceded in sworn interrogatory responses that he held
 13 various ownership interests in various MindGeek entities during the relevant period,
 14 including in entities that are named defendants in this action, met with minority
 15 shareholders of the MindGeek Corporate Defendants, and that he regularly spoke with
 16 Defendant Bernd Bergmair regularly about operations. See Doyle Decl., Exhibit 4 at
 17 4, 6, Antoon Resp. to ROG Nos. 1, 3. Despite this, and his own admission that he
 18 was often involved in MindGeek communications, see id. at 7, Antoon Resp. to ROG
 19 No. 4, Antoon has refused to conduct reasonable searches for, or to produce, relevant
 20 communications, information, and documents pertaining to the various roles he
 21 played within the MindGeek enterprise and that are relevant to evaluating jurisdiction.
 22
      4
        Antoon initially responded to Plaintiff’s ROGs on September 22, 2022, but that
 23
      response was heavily redacted because a protective order had not yet been entered in
 24   the case. See Exhibit 3. Plaintiff therefore did not receive Antoon’s actual responses
      to Plaintiff’s ROGs until Antoon provided an unredacted interrogatory response on
 25
      October 17, 2022, with responses designated as “Confidential” pursuant to the
 26   protective order. Plaintiff has filed Antoon’s response in an unredacted form under
 27   seal, pursuant to the Stipulated Protective Order, Dkt. 187. Antoon’s response to
      Plaintiff’s production requests contained no such designation and is filed in its
 28   original form.
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  1 See Doyle Decl. at 3, ¶ 10.
  2               1.     Antoon Cannot Avoid Discovery Just Because the MindGeek
  3                      Entity Defendants May Provide Discovery
  4         Antoon objects to almost every Request on the grounds that the information
  5 sought is “duplicative of information already sought by Plaintiff from the MindGeek
  6 Corporate Defendants” or more easily obtained from another party. See Doyle Decl.
  7 Exh. 4, Def. Antoon’s Responses to RFP Nos. 1-54. But this Court previously held
  8 that parties are not relieved of producing responsive documents because other
  9 defendants may produce them. Dkt. 211, at 3-4 (rejecting the argument that a non-
 10 party was relieved of its duty to produce documents that MindGeek might possess but
 11 has not produced); see also Anson v. Weinstein, No. CV 17-8360-GW (KSX), 2019
 12 WL 6655259, at *4 (C.D. Cal. Aug. 26, 2019) (a party “is not absolved of [his or her]
 13 own obligation to produce the responsive materials regardless of whether other parties
 14 may also produce similar or even identical documents.”) The Court should similarly
 15 reject Antoon’s objection.
 16               2.     Antoon Refuses to Produce Documents and Communications
 17                      Concerning Plaintiff
 18         RFP No. 1 seeks production of all documents and communications concerning
 19 Plaintiff that are in Antoon’s possession, custody, or control. Antoon sidesteps this
 20 request by recharacterizing it as seeking only his communications with Plaintiff (and
 21 none apparently exists), claiming that his communications concerning Plaintiff are
 22 not relevant to this Court’s jurisdictional analysis.
 23         Documents and communications concerning Plaintiff, who is based in
 24 California, will reveal the extent to which Antoon communicated about Plaintiff,
 25 directed actions to be taken with respect to Plaintiff’s videos, and played a role in
 26 optimizing and monetizing Plaintiff’s CSAM. The role that Antoon played in the
 27 solicitation, optimization, dissemination, and capitalization of Plaintiff’s CSAM is
 28 highly relevant to this Court’s jurisdictional analysis. See Allstar Mktg. Grp., LLC v.
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  1 Your Store Online, LLC, 666 F. Supp. 2d 1109, 1120 (C.D. Cal. 2009) (“Courts have
  2 . . . found a corporate officer’s contacts on behalf of a corporation sufficient to subject
  3 the officer to personal jurisdiction where the officer is a primary participant in the
  4 alleged wrongdoing or had control of, and direct participation in the alleged
  5 activities.”) (citing cases). Thus, Antoon’s communications about this California-
  6 based Plaintiff, the monetization of Plaintiff’s CSAM, and her efforts to have that
  7 content removed is relevant to the exercise of jurisdiction over Antoon. Antoon
  8 should be ordered to produce all communications and documents concerning Plaintiff.
  9                3.    Antoon Disregards this Court’s Rulings Concerning the
 10                      Permissible Scope of Jurisdictional Discovery
 11         Antoon recites the same boilerplate objections to several of Plaintiff’s
 12 discovery requests. One of those objections is that the requests seek “information
 13 beyond the scope of the jurisdictional discovery authorized by the Court’s July 29
 14 Order.” But Antoon is simply ignoring this Court’s clear direction concerning the
 15 permissible scope of jurisdictional discovery.
 16         This Court concluded that “Plaintiff has alleged facts bearing on the MindGeek
 17 Individual Defendants direction of specific policies pursuant to which Plaintiff was
 18 harmed.” (Dkt. 167, at 7; see also id. at 5 (“[T]here are various allegations throughout
 19 the FAC that identify specific MindGeek policies or practices—which were applied
 20 to Plaintiff and her videos—that the MindGeek Individual Defendants allegedly
 21 directed or implemented.”).)       The Court further explained that “[i]t is entirely
 22 plausible that at least one of the MindGeek Individual Defendants—high up as they
 23 were in the MindGeek hierarchy—had substantial involvement in the practices and
 24 policies of one of MindGeek’s major lines of business that harmed Plaintiff.” (Id. at
 25 7.) For example, the Court declared that “operating Pornhub and other MindGeek
 26 sites in a manner that maximizes the profitability of child porn” would qualify as
 27 “[j]urisdictionally relevant conduct.” (Dkt. 167, at 3 n.2; see also id. at 5 n.5
 28 (recognizing that it would be jurisdictionally relevant if “one or all of the MindGeek
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  1 Individual Defendants promulgated a policy of reuploading child porn like Plaintiff’s
  2 videos, to MindGeek’s websites after taking them down”)).
  3        Plaintiff therefore propounded several requests seeking documents that would
  4 reveal Antoon’s role in setting policies concerning the uploading and monetization of
  5 CSAM on Pornhub and other MindGeek sites. Plaintiff’s RFP Nos. 5, 38-42, 46, 49,
  6 and 52 seek documents and communications between Defendant Antoon, others, and
  7 any Defendant “related to the presence of any CSAM” on MindGeek sites, the
  8 reporting of CSAM, and MindGeek’s policies when CSAM is identified.          Request
  9 Nos. 10, 33-42 concern MindGeek’s practices, policies, procedures, and technologies
 10 used for monitoring, moderating, and removing material from its websites. Finally,
 11 Request No. 30 seeks documents and communications concerning the putative
 12 resignation of Antoon and his co-defendant, former MindGeek COO David Tassillo,
 13 both of whom spent more than a decade in leadership positions with MindGeek,
 14 resigned amid public scrutiny concerning allegations that the MindGeek Entities, and
 15 their officers, directors, and employees, intentionally commercialized and monetized
 16 illegal CSAM and stonewalled efforts to have the content removed, including in the
 17 case of Plaintiff.
 18        These Requests collectively seek, among other things, information related to
 19 Antoon’s personal involvement in the adoption of policies and procedures concerning
 20 the handling of CSAM, and Antoon’s role in controlling and directing the various
 21 MindGeek entities’ operations, particularly as it concerns search engine optimization
 22 (SEO) and CSAM, all of which the Court has held is relevant to its jurisdictional
 23 analysis. (Dkt. 167, at 7). Documents responsive to the requests would also reveal
 24 Antoon’s knowledge and awareness of the prevalence and intentional proliferation of
 25 CSAM on MindGeek’s tubesites, as well as the role that Antoon played in the
 26 implementation of the policies that allowed for the proliferation of CSAM on
 27 MindGeek’s tubesites, all of which are relevant jurisdictional considerations. Antoon
 28 has refused to produce any documents in response to these requests.
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  1         Along similar lines, the Court was clear that “[w]here the money flows in the
  2 MindGeek web, which may relate to ownership of the porn sites that generate revenue,
  3 matters to the Court’s jurisdictional analysis.” 5 (Dkt. 167, at 3 n.2). The Court also
  4 recognized that Plaintiff alleged that “the MindGeek Entity Defendants are each
  5 controlled by the MindGeek Individual Defendants, that the MindGeek Individual
  6 Defendants appoint sham directors to the entities which they control in order to
  7 impede investigations, and that the MindGeek Entity Defendants divert money,
  8 possibility to the MindGeek Individual Defendants” (id. at 6 and that “[t]his alleged
  9 flow of money is . . . jurisdictionally relevant” (id. at 6 n.6).
 10         In accordance with this guidance, Plaintiff propounded specific requests
 11 concerning the relationship and purpose of the various MindGeek entities, and their
 12 corporate structure and ownership, as well as Antoon’s ownership interests in those
 13 entities and his receipt of funds from those entities. See, e,g., RFP Request No. 8
 14 (seeking documents related to Defendant Antoon’s beneficial ownership of or
 15 economic interest in any MindGeek Related Entity or MindGeek intellectual
 16 property); RFP Request No. 15 (seeking documents related to any transactions
 17 involving the ownership loans to, secured interest in, or intellectual property or other
 18 rights related to MindGeek); RFP Request No. 29 (seeking documents concerning
 19 payments, investments, or loans to or from any MindGeek Entity or the Individual
 20 Defendants); ROG No. 2 (seeking information on ownership, shares, and capital
 21 transactions); RFP Request No. 2 (seeking documents and communications
 22
      5
        The Court, in recognition of Plaintiff’s allegations that her videos were pushed to
 23
      MindGeek’s other tubesites consistent with MindGeek’s pervasive practice,
 24   recognized that “[j]urisdictionally relevant conduct” was not limited to Pornhub but
      included operation of MindGeek’s other sites as well in a manner that maximized the
 25
      profitability of child porn. (Dkt. 167, at 3 n.2; see also id. at 5 n.5). Therefore,
 26   Antoon’s repeated effort to limit the scope of his responses to Pornhub should be
 27   rejected. (Dkt. 211, at 5 (agreeing with Plaintiff that requests regarding “the [true]
      ownership of porn sites that generated revenue from Plaintiff’s child sexual abuse
 28   material” is relevant to the Court’s jurisdictional analysis) (emphasis added)).
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  1 concerning Antoon’s affiliation with any MindGeek Related Entity); RFP Request
  2 No. 3 (seeking documents and communications concerning income, revenue, or other
  3 monies that Antoon received from any MindGeek Related Entity) see also RFP
  4 Request No. 7 (seeking documents concerning business relationships with various
  5 entities, such as Colbeck Capital, JP Morgan Chase, Fortress Investment Group); RFP
  6 Request No. 13 (seeking documents concerning MindGeek entity and tubesite
  7 profits); RFP Request No. 14 and ROG No. 3 (seeking documents concerning or
  8 provided to investors in any MindGeek Related Entity); RFP Request No. 16 (seeking,
  9 among other things, financials, ledgers, and shareholder lists); RFP Request No. 17
 10 (seeking among other things, tax filings, audits, financials, and accounting reports);
 11 RFP Request No. 18 (seeking “Your monthly, quarterly, and annual bank and
 12 investment statements”); RFP Request No. 19 (seeking documents related to any
 13 corporate reorganization by MindGeek); Request No. 20 (seeking documents
 14 identifying MindGeek subsidiaries); RFP No. 21 (seeking documents identifying
 15 directors, managers, members, executives, and personnel of MindGeek subsidiaries);
 16 RFP Request No. 24 (seeking information on, among other things, MindGeek bank
 17 accounts); RFP Request No. 25 (seeking audited financial statements and
 18 communications with auditors); RFP Request Nos. 6, 9, 22-23, 26-28 (seeking
 19 documents relating to the organization and corporate structure of MindGeek). This
 20 Court previously found these categories of documents relevant, so Antoon should be
 21 ordered to produce them promptly. (Dkt. 211, at 5).
 22         Antoon also attempts to limit his responses to just the MindGeek Entity
 23 Defendants, rather than the MindGeek Entities as Plaintiff defined them in the
 24 requests. The Court already rejected this limitation. (Dkt. 211, at 6).
 25               4.     Antoon Refuses to Produce Documents and Sufficient
 26                      Information Relative to His Jurisdictional Contacts
 27         Antoon also objects to several Requests that seek information concerning his
 28 connections and activities with California and other jurisdictions in the United States.
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  1 See RFP No. 11 and ROG No. 4 (seeking documents and communications related to
  2 Antoon’s “jurisdictional contacts with the United States or California”); RFP No. 12
  3 (seeking documents and communications related to, among other things “political
  4 activities in California or any jurisdiction in the United States,” “trips to California or
  5 any jurisdiction in the United States, profits, expenses, and taxes paid in or earned
  6 from California or any other United States jurisdiction, and communications or
  7 business relationships with, to, from, or in California or any other United States
  8 jurisdiction). Each of these requests seeks information that is relevant to the Court’s
  9 jurisdictional analysis. Nevertheless, Antoon has refused to search for a single
 10 document in response to these requests.
 11         Similarly, Antoon’s response to Interrogatory No. 4 is also deficient. Antoon
 12 admits he had taken numerous trips, owns substantial property, and pays taxes both
 13 in California and the relevant jurisdictions, but he provides only a barebones
 14 explanation of those contacts. Antoon should be ordered to provide more detail as to
 15 the more than 50 trips to the United States that Defendant admits to taking. For each
 16 trip, Antoon should be ordered to identify: (i) the dates of the trip, (ii) the locations
 17 visited, and (iii) the purpose of the visit. Antoon should also be ordered to provide
 18 adequate detail as to the properties owned through the various entities listed in
 19 response to Interrogatory No. 4. For each property that he owns or partially owns,
 20 directly or indirectly, Antoon should identify: (i) the address of each property, (ii) the
 21 date purchased, (iii) the purchase price, (iv) Antoon’s ownership percentage, and
 22 (v) the date sold (if applicable). Finally, Antoon should be ordered to provide his
 23 tax returns and the tax returns for the various entities listed in response to
 24 Interrogatory No. 4. See A. Farber & Partners, 234 F.R.D. at 191 (ordering defendant
 25 to produce tax records).
 26         Antoon also refuses to produce communications with other defendants (RFP
 27 Request No. 4), even though his relationship with, and control over, entities and
 28 individuals domiciled or doing business in the state of California are relevant to both
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  1 the Court’s jurisdictional and alter-ego analyses. See also RFP Request No. 2
  2 (seeking documents and communications concerning Defendant’s affiliation with any
  3 MindGeek Related Entity, including those based in California or other United States
  4 jurisdictions); RFP Request No. 3 (seeking documents and communications
  5 concerning income, revenue, or other monies that Defendant received from any
  6 MindGeek Related Entity, including those based in California or other United States
  7 jurisdictions).
  8         Similarly, in response to Request No. 32 and Interrogatory No. 6, Antoon
  9 refused to identify or produce contact lists or communication accounts and failed to
 10 identify the usernames and/or related contact information associated with his
 11 WhatsApp, Telegram, Teams, and Skype for Business accounts, though he admits to
 12 using these platforms. The identity and locations of the individuals that Antoon
 13 communicated and worked with in furtherance of the MindGeek’s illegal trafficking
 14 venture and their efforts to conceal and coverup their wrongdoing is highly relevant.
 15 See Dkt. 168 at 7 (“It is entirely plausible that at least one of the MindGeek Individual
 16 Defendants . . . had substantial involvement in the practices and policies of one of
 17 MindGeek’s major lines of business that harmed Plaintiff.”).
 18                5.     Antoon’s Privacy and Data Protection Objection is Without
 19                       Merit
 20         Antoon’s refusal to disclose information that could violate a law, rule, or
 21 regulation, for instance because it could require disclosure of information protected
 22 by applicable privacy or data protection laws (RFP General Objection 7 and
 23 Interrogatory General Objection 6), is improper. “The mere existence of a blocking
 24 statute does not preclude an American court from ordering discovery from a foreign
 25 litigant.” Connex R.R. LLC v. AXA Corp. Sols. Assurance, No.: CV 16–02368–ODW
 26 (RAOx), 2017 WL 3433542, at *5 (C.D. Cal. Feb. 22, 2017). “Indeed, the Supreme
 27 Court has held that ‘[i]t is well settled that such statutes do not deprive an American
 28 court of the power to order a party subject to its jurisdiction to produce evidence even
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  1 though the act of production may violate that statute.’” Id. (quoting Société Nationale
  2 v. U.S. Dist. Court for the S. Dist. of Iowa, 482 U.S. 522, 524, 544 n.29 (1987)).
  3 Currently, it is impossible for Plaintiff to assess the propriety of Antoon’s failure to
  4 disclose information without more specific information. Thus, if Antoon refuses to
  5 provide documents in full, or redacts documents on the purported basis that he must
  6 do so in compliance with a law, rule, or regulation, Antoon should be ordered to
  7 submit a log of the withheld information, so Plaintiff can properly assess Antoon’s
  8 claims.
  9               6.     Antoon Has Refused to Conduct a Search for Responsive
 10                      Documents
 11         It is black-letter law that, “[u]pon receipt of a properly served request, a
 12 responding party is required to conduct a ‘reasonable search’ for responsive
 13 documents.” Trujillo v. Princess Cruise Lines, Ltd., No. CV 20-7451 JWH (PVCx),
 14 2021 WL 3604518, at *6 (C.D. Cal. Apr. 23, 2021) (emphasis added); Polaris
 15 Innovations Ltd. v. Kingstown Tech. Co., No. CV 16-00300 CJC (RAOx), 2017 WL
 16 3275615, at *2 (C.D. Cal. Feb. 14, 2017); see also A. Farber & Partners, Inc. v.
 17 Garber, 234 F.R.D. 186, 189 (C.D. Cal. 2006) (“[A] party has an obligation to
 18 conduct a reasonable inquiry into the factual basis of his responses to discovery, and,
 19 based on that inquiry, [a] party responding to a Rule 34 production request ... is under
 20 an affirmative duty to seek that information reasonably available to [it] from [its]
 21 employees, agents, or others subject to [its] control.” (citations and quotations
 22 omitted)).
 23         Consistent with this fundamental principle, Rule 34 explicitly requires a
 24 responding party to “state whether any responsive materials are being withheld on the
 25 basis of [an asserted] objection.” Fed. R. Civ. P. 34(b)(2)(C). None of Antoon’s
 26 responses to Plaintiff’s document requests contains the statement required by Rule
 27 34(b)(2)(C). During the parties’ meet-and-confer teleconference on December 15,
 28 2022, Antoon’s counsel, collectively with the other Individual Defendants’ counsel,
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  1 confirmed that Antoon had not conducted a search for documents, instead claiming
  2 he was waiting for this Court to provide clarity in connection with Plaintiff’s pending
  3 motion to compel filed against MindGeek (Dkt. 224) before he would begin a search
  4 for responsive documents. See Doyle Decl., ¶ 10. Antoon provides only boilerplate
  5 objections.
  6         This Court should require him to conduct a search promptly and to submit to
  7 Plaintiff “declarations or affidavits detailing the nature of his ‘reasonable inquiry’ to
  8 locate responsive documents, and such declarations must address the inquiry he made
  9 on a request-by-request basis.” A. Farber & Partners, 234 F.R.D. at 190 (ordering
 10 this procedure in the face of an “astounding” “paucity” of documents produced by
 11 defendant, which production still involved 600 documents, far more than the zero
 12 documents that Antoon has produced here).
 13 IV.     ANTOON’S POSITION
 14         A.    Plaintiff’s Motion to Compel Should Be Denied in Full
 15               1.     Plaintiff’s Motion Should be Denied for Failure to
 16                      Meaningfully Meet and Confer
 17         This motion comes before the Court principally for two reasons: Plaintiff’s ill-
 18 founded belief that she was permitted to seek merits discovery despite the District
 19 Court’s explicit ruling to the contrary, and her refusal to meaningfully meet and confer
 20 with the Individual Defendants, even after Judge Carney ruled she could not take
 21 merits discovery in this phase and the Court made clear that Plaintiff’s requests will
 22 be narrowed to the permitted topics of jurisdictional discovery and the parties must
 23 meet and confer on discovery within those topics. Plaintiff’s refusal to follow the
 24 Local Rules and these Court directions means her motion should be denied.
 25         On July 29, 2022, Judge Carney authorized jurisdictional discovery and
 26 explicitly directed Plaintiff and her counsel “to not use this opportunity to further
 27 complicate this case.” (Brown Decl., Ex. C (Dkt. No. 168 at 2).) Despite this, Plaintiff
 28 propounded exceedingly broad discovery requests to the Individual Defendants that
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  1 went well beyond the jurisdictional discovery ordered. For example, several requests
  2 (both alone and in combination) seek essentially every piece of paper and every email
  3 and electronic record the Individual Defendants possess related to MindGeek. See
  4 e.g., RFP No. 2 (seeking all documents concerning “Your affiliation with … or
  5 ownership of MindGeek”); RFP No. 7 (seeking all documents related to any
  6 “economic interest in, or business relationship with MindGeek … by You”); RFP No.
  7 9 (seeking all documents “relating to MindGeek’s past or present … offices,
  8 departments, executives and personnel”); RFP No. 22 (seeking all documents
  9 identifying MindGeek subsidiaries “and the nature of [their] assets, businesses, or
 10 services”); RFP No. 50 (seeking all documents related to the “distribution of content
 11 to any MindGeek [site]”). Plaintiff similarly seeks documents from the Individual
 12 Defendants reflecting every penny going in or out of MindGeek to or from any party
 13 for any purpose for an eight-year period, without limitation. See RFP No. 16 (seeking
 14 records regarding “all payments made to or on behalf of [any MindGeek] entity,
 15 affiliate, subsidiary or related entity”); Interrogatory No. 2 (seeking a description “in
 16 detail” of every transaction “in which ownership, shares, indebtedness, secured
 17 interests, options, derivatives, or other capital related transactions occurred” involving
 18 MindGeek).
 19         The Individual Defendants timely responded to Plaintiff’s interrogatories and
 20 requests for production of documents on September 20, 2022, and October 20, 2022,
 21 respectively.     (See Doyle Decl., Exs. 3, 4, 5.)         After over a month of no
 22 communication, Plaintiff sent a L.R. 37-1 letter on December 5, 2022, to Individual
 23 Defendants seeking to immediately meet and confer. (See Doyle Decl., Ex. 6.) In
 24 accordance with L.R. 37-1, the Individual Defendants met and conferred with Plaintiff
 25 on December 15, 2022. (See Brown Decl. ¶21.) This meet and confer was limited to
 26 only the requests for production of document and did not include discussing
 27 concerning the interrogatories. (See id.) At this meeting, the Individual Defendants’
 28 counsel pointed out that Plaintiff had served her extremely broad discovery requests
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  1 at a time when she was admittedly seeking merits discovery and asked if there were
  2 any of her requests that she was willing to narrow. Plaintiff said no. (See id.) At this
  3 meeting, the Individual Defendants also requested that Plaintiff hold off filing any
  4 motion to compel, since her motion to compel the MindGeek corporate defendants,
  5 which raised similar issues, was then scheduled to be heard by the Court on December
  6 27, 2022, and the Court’s ruling would potentially resolve or narrow the issues
  7 between Plaintiff and the Individual Defendants. Plaintiff would not agree to do so.
  8 (See id.) The meet and confer ended with Plaintiff’s promise to consider questions
  9 raised by the Individual Defendants and to get back to Individual Defendants about
 10 open issues. (See id.) The next day, on December 16, 2022, the jurisdictional
 11 discovery cutoff was extended four months, until May 1, 2023. (See Brown Decl.,
 12 Ex. D (Dkt. No. 241).)
 13        Without any further correspondence or response regarding on the open issues
 14 from the December 15 meet and confer, Plaintiff served a motion to compel on all
 15 Individual Defendants on Friday, December 23, with a due date of Friday, December
 16 30, and a hearing date of February 1, 2023. (See Brown Decl., Ex. H.) Plaintiff did
 17 so despite having explicitly saying to the Individual Defendants that she would
 18 consider points made during the December 15 meet and confer.
 19        The Individual Defendants informed Plaintiff that the dispute was not ripe for
 20 presentation to the Court. (See id.) Because Plaintiff had served her motion to compel
 21 the day before the Christmas holiday weekend (even though her motion did not need
 22 to be filed until Wednesday, January 11 per L.R. 37-3), the Individual Defendants
 23 sought an extension to respond until at least January 10. (See id.) Plaintiff did not
 24 agree to the Individual Defendants’ requested extension—which included extending
 25 the hearing date to February 8, 2023—until December 27, 2022, after the Christmas
 26 holiday weekend. (See id.)
 27        On January 4, 2023, counsel for the Individual Defendants emailed Plaintiff’s
 28 counsel to schedule an additional meet and confer to narrow the substantial number
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  1 of disputes at issue in the present motion to compel. That meet and confer took place
  2 on January 6, 2023, during which Plaintiff rejected all but one of Individual
  3 Defendants’ proposals, even though the Individual Defendants explained to Plaintiff
  4 that:
  5     • To lessen the substantial burden on the Court, the Individual Defendants sought
  6         to consolidate the four motions to compel into a single motion. Plaintiff would
  7         not agree. Nevertheless, the Individual Defendants have worked hard to include
  8         in the individual submissions demanded by Plaintiff identical arguments where
  9         appropriate (for example, this entire Preliminary Statement).
 10     • To accurately convey to the Court what the Individual Defendants had done,
 11         the Individual Defendants told Plaintiff that they had all begun a search for
 12         documents relevant to jurisdictional discovery—contrary to what Plaintiff’s
 13         counsel claimed they heard—yet Plaintiff refused (and still refuses) to amend
 14         her assertions in the motion.
 15     • To narrow the issues substantially, the Individual Defendants asked that their
 16         responses be made after the Court ruled on the pending motion to compel
 17         discovery from the MindGeek Entity Defendants because certain issues
 18         relevant to the Individual Defendants’ dispute with Plaintiff would be litigated
 19         there.
 20     • To narrow the issues substantially, the Individual Defendants sought a further
 21         meet and confer before January 18, which would have had no impact on the
 22         February 8, 2023, hearing date. Indeed, with the jurisdictional discovery cutoff
 23         now May 1, 2023, meaningful meet and confer remains especially timely.
 24 (See Brown Decl. ¶ 21.)
 25         At the January 6, 2023, meet-and-confer, Individual Defendants also asked
 26 Plaintiff again to narrow her requests, because they address merits issues and are
 27 otherwise overbroad. Just as in the December 15 meet-and-confer, Plaintiff did not
 28 identify a single request that she was willing to narrow, with one exception. In the
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  1 one and only area where Plaintiff noted she would consider narrowing the requests—
  2 RFP Nos. 10, 14, 18, 24, 30, 32, and 36—counsel asked the Individual Defendants to
  3 send a follow-up email, which the Individual Defendants did on Monday, January 9.
  4 (See Brown Decl., Ex. I.) Plaintiff responded to that email on Tuesday, January 10,
  5 without providing any additional information or narrowing any requests. (See id.)
  6         On January 10, Mr. Antoon and the other Individual Defendants provided
  7 Plaintiff with their portions of the joint stipulation on Plaintiff’s motion to compel.
  8         On January 11, the Court held a hearing on Plaintiff’s separate motion to
  9 compel the MindGeek corporate defendants, at the conclusion of which the Court
 10 directed the parties to meet and confer further. Following this hearing, and in light of
 11 the Court’s direction to meet and confer on that motion, Plaintiff’s counsel advised
 12 that Plaintiff did not intend to file the motions to compel the Individual Defendants
 13 that day and suggested that the parties meet and confer to see if they could “narrow
 14 or resolve” any issues in dispute. (Brown Decl., Ex. Q.)
 15         On behalf of all the Individual Defendants, counsel responded the next
 16 morning, January 12, that they remained “interested in trying to narrow and, if
 17 possible, resolve all or at least some of the open issues,” and proposed a meet and
 18 confer. (Brown Decl., Ex. Q.)
 19         The following day, January 13, counsel for Mr. Tassillo (on behalf of all
 20 Individual Defendants) had a telephone conference with Plaintiff’s counsel in which
 21 defense counsel reiterated a desire to continue discussions. (Brown Decl. ¶ 22.)
 22 Among other points, we understand that counsel for Mr. Tassillo strongly suggested
 23 that counsel for Plaintiff provide a narrowed set of categories of documents he
 24 believed that he could obtain only from the Individual Defendants (not the MindGeek
 25 Entities) that relate to personal jurisdiction. (Brown Decl. ¶ 22.)
 26         Later the same day, as a follow-up from this meeting, the Individual Defendants
 27 proposed a meet-and-confer for the next business day and noted that they would “like
 28 to continue discussing potential areas of agreement and ways to narrow and clarify
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  1 the issues that may need to go to the Magistrate Judge.” (Brown Decl., Ex. Q.)
  2 Plaintiff did not respond to this email. (Brown Decl., Ex. Q.)
  3         The Individual Defendants contacted Plaintiff again on January 18, asking if
  4 counsel for Plaintiff wished to “continue the meet and confer process.” (Brown Decl.,
  5 Ex. Q.) The email noted that “it would be constructive to identify and itemize the
  6 specific materials the plaintiff is seeking,” and urged Plaintiff to provide such a list to
  7 facilitate the parties’ potential discussions. (Id.)
  8         Later the same day, Plaintiff responded that she would “hold off” filing the
  9 motions to compel “today.” (Brown Decl., Ex. Q.) Plaintiff’s email agreed that “we
 10 should confer further to try to reach agreements,” saying Plaintiff would be “[b]ack
 11 in touch shortly.” (Id.) But Plaintiff either was not being truthful in this email or
 12 inexplicably reversed course sometime in the next two weeks.
 13         Instead of providing a narrowed list or setting a time to meet and confer, the
 14 next communication from Plaintiff after her January 18, 2023, email was on February
 15 1, when Plaintiff served her portion of the joint stipulation related to the instant motion
 16 to compel. (Brown Decl., Ex. S.) The following day, the Individual Defendants again
 17 invited Plaintiff to engage in a further meet and confer rather than proceed with
 18 motion practice, reiterating yet again their request that, as a starting point for
 19 discussions, Plaintiff provide them with a list of narrowed categories of documents
 20 she is seeking. (Brown Decl., Ex. R.) Plaintiff refused even to respond to this request
 21 to meet and confer and provide any narrowed categories of documents, saying only
 22 that she would proceed with motion practice.           (Id.)   Plaintiff insisted that the
 23 Individual Defendants provide their portions of the joint stipulation within six days
 24 of receiving Plaintiff’s revised portion, in contravention of the seven days response
 25 period required under L.R. 37-2.2. (Id.) Antoon is submitting this response early in
 26 order to avoid burdening the Court with yet another dispute, but reserves all rights
 27 regarding this additional violation by Plaintiff of the Local Rules.
 28         It is plain that Plaintiff has never meaningfully engaged in the meet and confer
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  1 process. This comes as no surprise: nearly one month before Plaintiff sent a L.R. 37-
  2 1 letter to the Individual Defendants—and thus well before any meet-and-confer could
  3 take place—Plaintiff stated on the record that her motions to compel against the
  4 Individual Defendants were “in progress.”6 This conduct, and her refusal to narrow
  5 even one of her admittedly merits-focused document requests, shows that Plaintiff has
  6 failed to meaningfully meet-and-confer, and her motion should be denied on that basis
  7 alone.
  8          In short, despite the fact that there are still areas the parties can continue to
  9 work with each to eliminate the need for hundreds of pages of briefing for this Court
 10 (including consolidating the motions to compel against all four Defendants into a
 11 single brief), Plaintiff has refused to meaningfully engage in the meet and confer
 12 process. At this point, the motion to compel should be denied on that basis alone. See
 13 Goldwater Bank, N.A. v. Elizarov, 2022 WL 17078950, at *2-3 (C.D. Cal. Oct. 7,
 14 2022) (Defendant “asked this court to rule on a multitude of purported discovery
 15 disputes without having made a full and reasonable effort to resolve these disputes . .
 16 . . Because the instant motion was brought without defendant first complying with
 17 Local Rule 37-1, the court denies it without prejudice.”); Rahmatullah v. Charter
 18 Commc’ns, LLC, 2021 WL 1593242, at *3 (C.D. Cal. Mar. 25, 2021) (“Plaintiff’s
 19 decision to abandon meet-and-confer negotiations prematurely and burden the court's
 20 time and resources with a 223-page joint stipulation is not well taken.”); Mulligan v.
 21 Nichols, 2013 WL 12124004, at *2 (C.D. Cal. July 12, 2013) (“the Court does not
 22
      6
       See Brown Decl. Ex. G (Dkt. 178, November 16, 2022 Hr’g Tr. Re Pl.’s Mot. for
 23
      Issuance of Int’l Judicial Assistance at 6:10-11 (“So the individual Defendants, their
 24   productions have been due. I’m certain Your Honor next is going to ask where are the
      motions to compel and they are in progress.”).) On December 5, 2022, Plaintiff sent
 25
      a Rule 37-1 letter to the Individual Defendants. Two days later, before a meet and
 26   confer was scheduled, on December 7, 2022, Plaintiff noted in a court filing that
 27   “Plaintiffs [sic] will be filing a separate motion to compel the Individual Defendants
      to comply with discovery obligations.” (Brown Decl., Ex. J (Dkt. 233 at 2 n.1)
 28   (emphasis added).)
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  1 countenance shotgun discovery, duplicative discovery, or inadequate meet and confer
  2 efforts which result in unnecessary 100-plus page discovery motions”); see also
  3 ExxonMobil Oil Corp. v. S. California Edison Co., 2013 WL 12166215, at *6 n.5
  4 (C.D. Cal. Nov. 19, 2013) (“After further meet and confer, the Motion may, if
  5 necessary, be renewed as to any remaining disputes in these two areas; however, the
  6 parties are cautioned that if the Court deems that the meet and confer process has been
  7 inadequate, a further motion will be summarily denied.”); Acosta v. Austin Elec.
  8 Servs. LLC, 324 F.R.D 210, 212 (D. Ariz. 2017) (ordering plaintiff’s counsel to show
  9 cause regarding failure to adequately meet and confer prior to moving to compel).
 10 The Court can and should deny Plaintiff’s motion on this basis alone, and order her
 11 to meet and confer with Mr. Antoon and the other Individual Defendants in the
 12 substantive and good faith manner required by the Local Rules.
 13               2.    Plaintiff Improperly Seeks MindGeek Corporate Records
 14                     from the Individual Defendants
 15        Plaintiff insists on proceeding with a motion to compel when her fundamental
 16 problem is one of her own making: she seeks MindGeek corporate documents from
 17 the Individual Defendants when she also seeks virtually the same corporate
 18 documents from the MindGeek Entities (RFP Nos. 1-17, 19-31, 33-54).                The
 19 MindGeek Entities are the best source for responsive documents relating to, among
 20 other things, emails regarding Plaintiff; MindGeek’s income, revenue, and other
 21 financial information; MindGeek’s ownership; and the Individual Defendants’
 22 involvement in setting MindGeek’s policies regarding CSAM.             The MindGeek
 23 Entities have made a substantial production relating to these issues and we understand
 24 that additional document productions are forthcoming.
 25        Plaintiff seeks a breathtaking array of corporate documents from the Individual
 26 Defendants.     Virtually every one of her 54 document requests seeks corporate
 27 documents that would be created and maintained by the MindGeek Entities. Among
 28 other topics, Plaintiff seeks documents regarding: MindGeek’s “corporate and
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  1 ownership” structure (RFP No. 6); its “organizational structure, offices, departments,
  2 executives and personnel” and all of its subsidiaries, directors, managers, members
  3 and executives (RFP No. 9; see also RFP Nos. 20, 21, 22, 26); all of its financial
  4 records, including audited financial statements, ledgers, profit and loss statements,
  5 balance sheets, records of revenues and profits, payroll records and expense records
  6 (RFP Nos. 12, 16, 17, 25); its quarterly and annual tax filings (RFP No. 17); minutes
  7 and presentation materials for its board of directors meetings (RFP No. 16); its
  8 “intellectual property” (RFP Nos. 8, 53, 54); its “IT infrastructure,” data storage and
  9 cloud storage (RFP No. 31); its document preservation policies (RFP No. 35); and its
 10 agreements with bank and credit card networks (RFP No. 51). These corporate
 11 records are overwhelmingly ones created or maintained by MindGeek corporate
 12 employees—not the Individual Defendants—and to the extent the Individual
 13 Defendants received copies, they were likely sent to them via MindGeek’s email
 14 system. None of the Individual Defendants have access to MindGeek’s email system
 15 or corporate records. Yet Plaintiff inexplicably insists that the Individual Defendants
 16 are the right parties for these corporate-focused discovery requests.7
 17         In both our December 15, 2022, and January 6, 2023, meet-and-confers and in
 18 subsequent e-mail and telephone communications, the Individual Defendants
 19 suggested that it would be more efficient for the parties to identify the responsive
 20 documents MindGeek had to which Plaintiff was entitled, and then limit the universe
 21 of documents sought from the Individual Defendants to any non-duplicative
 22 documents they might possess.           In our January 6, 2023, meet-and-confer, the
 23
 24   7
        In this stipulation, Plaintiff contends that Mr. Antoon “has refused to conduct
      reasonable searches for . . . documents pertaining to the various he roles he played
 25
      within the MindGeek enterprise.” But Mr. Antoon has agreed to search for documents
 26   concerning his involvement (if any) in setting the CSAM policies that allegedly
 27   harmed Plaintiff and, to the extent Plaintiff seeks other information as to “the various
      roles” Mr. Antoon “played within the MindGeek enterprise,” that information is
 28   outside the jurisdictional discovery ordered.
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  1 Individual Defendants specifically asked Plaintiff’s counsel if he insisted that the
  2 Individual Defendants produce identical copies of the 7,000 pages of corporate
  3 documents already produced by MindGeek, if they had them in their possession.
  4 Plaintiff’s counsel confirmed that he expected the production of such duplicative
  5 records. (See Brown Decl. ¶ 21.)
  6         In seeking to burden the Individual Defendants with these requests for
  7 MindGeek’s documents, Plaintiff takes refuge in the proposition that a party may seek
  8 duplicative documents from different parties. While this may be true in the abstract,
  9 Plaintiff ignores that Rule 26(b)(2)(C)(i) specifically requires a court to limit
 10 discovery that is “unreasonably cumulative or duplicative, or can be obtained from
 11 some other source that is more convenient, less burdensome, or less expensive.” Here,
 12 seeking corporate documents from the Individual Defendants when the same
 13 documents are simultaneously being sought from the MindGeek Entities is
 14 unreasonably duplicative, burdensome, and misguided. It would plainly be “more
 15 convenient” and “less burdensome” to obtain the documents from the MindGeek
 16 Entities. Indeed, MindGeek already has produced a good number of corporate
 17 documents that address the financial issues that Plaintiff seeks to understand.
 18         The Individual Defendants are no longer employed by MindGeek (or never
 19 were), and thus have no access to MindGeek’s email system or any other records.
 20 Indeed, as Plaintiff is well aware, Mr. Antoon resigned from his positions in
 21 MindGeek in June 2022. (See Brown Decl. ¶ 23.) He no longer has access to
 22 MindGeek business e-mails and the MindGeek Entities have collected and are
 23 reviewing appropriate messaging and other mobile data. (See Brown Decl. ¶¶ 23-24.)
 24 Yet Plaintiff curiously seeks to compel the Individual Defendants to produce these
 25 materials rather than the company to which the documents actually belong. Plaintiff
 26 should direct her concerns, if any, regarding the MindGeek Entities’ production of
 27 corporate financial information to those parties, and her motion to compel the
 28 Individual Defendants to produce materials to which they have little or no access
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  1 should be denied. See, e.g., Williams v. City of Hartford, No. 3:15CV00933(AWT),
  2 2016 WL 1732719, at *11 (D. Conn. May 2, 2016) (denying motion to compel with
  3 respect to plaintiff’s document request because another defendant was already ordered
  4 to produce the sought-after records); Kleppinger v. Texas Dep't of Transportation,
  5 No. CV L-10-124, 2012 WL 12893652, at *3 (S.D. Tex. Mar. 12, 2012) (denying
  6 motion to compel individual defendants (current and former employees of the Texas
  7 Department of Transportation) to respond to interrogatories because the
  8 interrogatories were “unreasonably duplicative of discovery requests directed to
  9 Defendant [Texas Department of Transportation]”).
 10         Another reason for Plaintiff to address her requests for MindGeek records to
 11 the MindGeek Entities is that many responsive documents are potentially protected
 12 by MindGeek’s attorney-client privilege. The Individual Defendants cannot waive
 13 MindGeek’s privileges, and any objections Plaintiff may have to the company’s
 14 privilege claims should be raised with company counsel. Similarly, the corporate
 15 records sought quite likely contain confidential business information of the MindGeek
 16 Entities, which their counsel would have to review in order to determine whether to
 17 designate any information confidential or highly confidential under the Court’s
 18 protective order (Brown Decl., Ex. F (Dkt. No. 187).) This duplicative process would
 19 not be necessary if Plaintiff simply directed her requests for corporate documents
 20 from the corporate defendants, an approach that is much more convenient and much
 21 less burdensome, and thus in accord with Rule 26.
 22               3.    Documents and Communications Concerning Plaintiff (RFP
 23                     No. 1)
 24         Plaintiff seeks to compel Mr. Antoon to produce “communications about”
 25 Plaintiff. Mr. Antoon has searched his personal e-mail and other materials within his
 26 unique possession and found no documents relating to Fleites in the relevant time
 27
 28
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  1 period. (See Brown Decl. ¶ 24.)8 Mr. Antoon respectfully submits that there is no
  2 live dispute between the Plaintiff and him on this issue.
  3               4.     Plaintiff’s Requests Go Far Beyond Jurisdictional Discovery
  4                      a.     CSAM policies (RFP Nos. 5, 10, 30, 33-42, 46, 49, 52)
  5         Plaintiff’s document requests regarding CSAM policies that allegedly directly
  6 impacted Plaintiff exceed the scope of jurisdictional discovery authorized by the
  7 Court. Judge Carney authorized Plaintiff to take discovery regarding the Individual
  8 Defendants’ “direct involvement” (if any) “in promulgating” those policies as a
  9 potential basis for specific personal jurisdiction. (Brown Decl., Ex. A (Dkt. No. 167
 10 at 5-7).) Although Plaintiff argues in this stipulation that she is entitled to documents
 11 regarding the Individual Defendants’ roles in “setting policies” and the “adoption of
 12 policies” regarding CSAM, her requests actually reach far beyond this. Plaintiff’s
 13 requests seek a broad range of documents, including practically any document
 14 mentioning CSAM policies, even if they have nothing to do with any Individual
 15 Defendant’s role in the creation of those policies.
 16         And, contrary to Plaintiff’s assertion that Mr. Antoon refuses to search for
 17 responsive documents, Mr. Antoon has searched for and continues to search for
 18 documents regarding his involvement in directing or implementing MindGeek CSAM
 19 policies, consistent with Judge Carney’s order.9 (See Brown Decl. ¶ 24.) Plaintiff
 20 thus offers no dispute regarding Mr. Antoon’s efforts to produce documents
 21 responsive to these RFPs that is ripe for resolution by the Court.
 22
      As this Court has previously held, “only contacts occurring prior to the event causing
      8

 23 the litigation may be considered,” and thus the relevant time period is between June
 24 2014 and June 2020. Dkt. No. 211 at 3 (citing Farmers Ins. Exch. V. Portage La
    Prairie Mut. Ins. Co., 907 F.2d 911, 913 (9th Cir. 1990)).
 25 9
      As discussed above, Mr. Antoon does not have access to MindGeek’s email systems
 26 or other MindGeek corporate records. Further, MindGeek has collected and is
 27 searching all of the messaging and other apps used by Mr. Antoon during his time at
    the company. Accordingly, Mr. Antoon is searching only his personal email accounts
 28 and other documents that are in his possession and not in the possession of MindGeek.
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  1                      b.    Where Money Flows (RFP Nos. 2-3, 6-9, 13-29)
  2         Judge Carney recognized that Plaintiff “might also have a workable alter ego
  3 theory pursuant to which she can impute the jurisdictional contacts of the non-
  4 objecting MindGeek Entity Defendants to the MindGeek Individual Defendants,” and
  5 ordered jurisdictional discovery on potential alter ego claims, even though Plaintiff’s
  6 allegations on this point are “rather conclusory, vague, and indeed, quite difficult to
  7 follow at times.” (Brown Decl. Ex. A (Dkt. No. 167 at 6)). The questions on alter
  8 ego are whether “(1) there is such unity of interest and ownership that the separate
  9 personalities of the corporation and the individuals no longer exist” and “(2) failure
 10 to disregard the corporation would result in fraud or injustice.” Symettrica Ent., Ltd.
 11 v. UMG Recordings, Inc., No. LACV1901192CJCKLS, 2019 WL 8806093, at *4
 12 (C.D. Cal. Sept. 20, 2019) (quoting Flynt Distrib. Co., Inc. v. Harvey, 734 F.2d 1389,
 13 1393 (9th Cir. 1984)); see also Brown Decl. Ex. B (Dkt. No. 211 at 3). But Plaintiff’s
 14 purported alter ego discovery goes far beyond these questions.
 15         Instead, Plaintiff seeks license to conduct from the Individual Defendants a full
 16 forensic examination of essentially every financial document of the MindGeek
 17 Entities over nearly a decade. For example, Plaintiff’s RFP No. 16 seeks, among
 18 other things, all documents of each and every MindGeek affiliate reflecting
 19 capitalization, revenues, profits, tax payments, distributions, dividends, shareholder
 20 agreements, lender agreements, as well as profit and loss statements, balance sheets,
 21 tax records, payroll records and expense records. As if that was not broad enough,
 22 Plaintiff also seeks documents from the Individual Defendants reflecting every penny
 23 going in or out of MindGeek to or from any other party for any purpose for an eight-
 24 year period, without limitation. See RFP No. 16 (seeking records regarding “all
 25 payments made to or on behalf of [any MindGeek] entity, affiliate, subsidiary or
 26 related entity”).
 27         The MindGeek Entities have already produced to Plaintiff documents sufficient
 28 to establish “how the money flows” at MindGeek. We understand that the MindGeek
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  1 Entities have agreed to produce substantial additional documents. Discovery from
  2 the Individual Defendants on this point would not be proportional to the needs of the
  3 case under Rule 26. A review of Plaintiff’s document requests demonstrates that she
  4 has already been provided with corporate documents regarding the topics she seeks
  5 information about. For example, RFP Nos. 2, 3, 7 and 8 seek information about Mr.
  6 Antoon’s ownership interest in MindGeek and monies received from the company.
  7 Mr. Antoon identified in response to interrogatories the exact percentage of his
  8 economic interest in MindGeek, including identifying the entities through which he
  9 owns his economic interests. (See Antoon Interrogatory Response No. 1.) Individual
 10 Defendants Mr. Bergmair and Mr. Tassillo similarly have provided information
 11 regarding their ownership interests in MindGeek.          MindGeek also produced to
 12 Plaintiff the 2013 Shareholders’ Agreement (and 2018 amendment) governing the
 13 relationship between the shareholders of MindGeek s.a.r.l. (See Brown Decl., Ex. L
 14 (Dkt. No. 224-10) ¶10(a)).)
 15         Plaintiff also makes numerous requests seeking documents regarding
 16 MindGeek’s corporate structure and identifying MindGeek subsidiaries. (RFP Nos.
 17 6, 9, 19, 20, 22, 26.) MindGeek’s interrogatory responses have explained the
 18 ownership status and structure of each of the MindGeek defendants. (See Brown
 19 Decl., Ex. P (“MG ROGs”), Response No. 1.) MindGeek also produced to Plaintiff
 20 corporate organizational charts for 2014 through 2021, which show all MindGeek
 21 entities, not just the corporate defendants in this action. (See Brown Decl., Ex. L (Dkt.
 22 No. 224-10 ¶8(c)).)        Further, with respect to MindGeek’s 2018 corporate
 23 reorganization, the MindGeek Entities have produced documents showing the
 24 transfers of assets undertaken in connection with this reorganization, as well as before
 25 and after versions of the corporate organizational structure.10 (Id. ¶10(b).) The
 26
 27   We understand that the MindGeek Entities will be producing a comprehensive set
      10


    of the operative transaction documents from both the 2013 and 2018 reorganizations
 28 governing the ownership and financing of the company.
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  1 MindGeek Entities also produced certificates of incorporation, by-laws, and other
  2 corporate filings for numerous MindGeek entities. (Id. ¶¶10(k)-(bb).)
  3         Plaintiff also seeks financial records, audited financial statements and tax
  4 returns of MindGeek. (RFP Nos. 13, 16, 17, 25.) The MindGeek Entities produced
  5 audited financial statements for each entity preparing such statements for 2014
  6 through 2019. (See Brown Decl., Ex. L (Dkt. No. 224-10 ¶8(d)-(g)).) In addition, the
  7 MindGeek Entities produced detailed financial reporting packages for all MindGeek
  8 entities from 2014 through June 2021, which include Consolidated Statements of
  9 Cash Flow and auditor’s notes. (Id. ¶8(i).) Plaintiff has also been provided with
 10 multiple sets of tax returns filed by MindGeek entities. (Id. ¶13(g)-(h).) In addition,
 11 at Plaintiff’s request, the Court issued letters rogatory to multiple Grant Thornton
 12 entities abroad who provide audit and accounting services to MindGeek affiliates.
 13 (See Dkt. Nos. 219-222.)
 14         Plaintiff also seeks documents sufficient to identify MindGeek’s directors and
 15 managers. (RFP No. 21.) But MindGeek has already identified the directors and
 16 managers of each corporate defendant and their dates of services in its interrogatory
 17 responses. (See Brown Decl., Ex. P (MG ROGS Response No. 5.) Further, the
 18 MindGeek Entities have produced the minutes of the shareholder meetings and Board
 19 of Directors/Managers meetings for the corporate defendants, as well as board
 20 resolutions, including those reflecting approval of dividend distributions to
 21 shareholders. (See Brown Decl., Ex. L (Dkt. No. 224-10 ¶10(c)-(j), 13(b)-(f), (l)-(p),
 22 (u).)   Plaintiff also seeks documents from the Individual Defendants reflecting
 23 services provided by one MindGeek entity to another (RFP Nos. 23, 27-27), despite
 24 having received relevant service agreements governing these arrangements from the
 25 MindGeek Entities. (Id. ¶13(v)-(x).)
 26         In addition to producing documents and interrogatory responses that provide
 27 an explanation of how “the money flows” at MindGeek, the MindGeek Entities have
 28 arranged for a Rule 30(b)(6) corporate representative to travel to the United States to
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  1 explain MindGeek’s corporate structure. To date, Plaintiff has yet to schedule that
  2 deposition.
  3         Plaintiff conspicuously leaves all of this out of her portion of this joint
  4 stipulation. She provides no explanation as to why audited financial statements
  5 prepared by a prominent accounting firm, detailed internal financial reporting
  6 packages presented to the companies’ own boards, and corporate tax returns filed with
  7 the relevant taxing jurisdictions fail to provide an adequate picture of MindGeek’s
  8 finances. Plaintiff’s position is that this is insufficient and she is apparently entitled
  9 to every potential document that could relate in any way to MindGeek’s finances and,
 10 even worse, the personal finances of each Individual Defendant. So, for example,
 11 Plaintiff makes the irrelevant and overbroad request for all “monthly, quarterly and
 12 annual bank and investment statements” of Mr. Antoon (RFP No. 18), with no
 13 limitation that any such documents relate to the MindGeek Entities or Plaintiff’s
 14 causes of action. This request plainly exceeds the scope of jurisdictional discovery.
 15 To the extent Plaintiff contends that she needs to explore whether the Individual
 16 Defendants have diverted money to themselves from the MindGeek Entities, the
 17 MindGeek Entities have provided her with information regarding dividends, wages,
 18 and other monies paid out to Mr. Antoon. And it is our understanding that the
 19 MindGeek Entities are searching for and planning to produce documents (if any)
 20 reflecting so-called “related party transactions” with entities owned by the Individual
 21 Defendants. As described above, Plaintiff has been or shortly will be provided with
 22 documents that reflect how the money flows at MindGeek; what an Individual
 23 Defendant does with the money he receives as a MindGeek shareholder thereafter is
 24 simply irrelevant to the alter ego analysis. And, in any event, the request is plainly
 25 overbroad in that it calls for production of documents related to accounts that have
 26 nothing whatsoever to do with MindGeek. Indeed, this request is a perfect example
 27 of Plaintiff’s “fishing expedition” approach to discovery in this action and her
 28 disregard of Judge Carney’s admonition not to “complicate” the case. (See Brown
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  1 Decl., Exs. A & C (Dkt. Nos. 167 & 168).)
  2         Finally, but perhaps most importantly, the documents produced to Plaintiff
  3 establish that the MindGeek Entities followed appropriate corporate formalities, had
  4 separate audited financial statements and tax returns prepared for each entity and,
  5 where one entity performed services for another, entered into appropriate and
  6 economically fair service agreements.
  7         In short, Defendants have already produced documents and information that
  8 tell Plaintiff “how the money flows” at MindGeek, and the MindGeek Entities are
  9 producing substantial additional materials that relate to these issues more broadly.
 10 Requiring the Individual Defendants to search for additional financial documents—
 11 including personal financial materials and tax returns not relevant to this case, much
 12 less within the bounds of jurisdictional discovery—is simply not “proportional to the
 13 needs of the case” under Rule 26(a). See Alaska Elec. Pension Fund v. Bank of Am.
 14 Corp., No. 14-CV-7126 (JMF), 2016 WL 6779901, at *3 (S.D.N.Y. Nov. 16, 2016)
 15 (“Rule 26(b)(1)’s proportionality requirement means [the requested documents]
 16 ‘marginal utility’ must also be considered.”); see also Hake v. Citibank, N.A., No.
 17 19MC00125JGKKHP, 2020 WL 1467132, at *6 (S.D.N.Y. Mar. 26, 2020) (limiting
 18 discovery on proportionality grounds because the “need for the documents sought
 19 [was] . . . marginal at best” “[g]iven the marginal relevance of th[e] documents”);
 20 Martinez v. Optimus Properties, LLC, No. 17-3582, 2018 WL 5906904, at *2–3 (C.D.
 21 Cal. May 9, 2018) (observing that the relevance of certain document requests was
 22 “somewhat diminished by . . . [their] incremental potential value” and narrowing the
 23 requests on proportionality grounds).
 24
 25               5.    Plaintiff’s Requests for Documents and Information Relative
 26                     to Mr. Antoon’s Jurisdictional Contacts Exceed this Court’s
 27                     Rulings Concerning the Permissible Scope of Jurisdictional
 28                     Discovery
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  1                      a.     Plaintiff Seeks Information Related to Personal
  2                             Contacts with this Jurisdiction
  3         Plaintiff’s discovery requests to the Individual Defendants (Interrogatory No.
  4 4, RFP Nos. 11-12) are overbroad to the extent they seek documents regarding their
  5 personal contacts with California and the United States. In order to establish specific
  6 personal jurisdiction over the Individual Defendants, Plaintiff must show that they
  7 purposefully directed their activities at this jurisdiction and that her claims arose from
  8 those forum-directed activities. See AMA Multimedia LLC v. Wanat, 970 F.3d 1201,
  9 1207 (9th Cir. 2020). Plaintiff claims she was harmed by MindGeek’s conduct and
 10 Judge Carney authorized her to explore whether the Individual Defendants were
 11 directly involved in creating or promulgating the purported MindGeek policies that
 12 Plaintiff asserts caused her alleged injuries. (See Brown Decl., Ex A (Dkt. No. 167 at
 13 5-7).) Plaintiff’s alleged injuries did not arise from the Individual Defendants’
 14 personal contacts with the jurisdiction, so those contacts could not possibly form the
 15 basis for personal jurisdiction over them.
 16         Both Interrogatory No. 4 and Plaintiff’s RFP Nos. 11 and 12 are not limited to
 17 MindGeek-related business contacts the Individual Defendants have had with this
 18 jurisdiction.    Plaintiff insists that the Individual Defendants must also provide
 19 information regarding purely personal contacts they may have had with the
 20 jurisdiction. Indeed, in our January 6, 2023, meet-and-confer, Plaintiff’s counsel
 21 specifically insisted in response to defense counsel’s question that Plaintiff had a right
 22 to know if the Individual Defendants had ever taken any purely personal trips to the
 23 United States, such as, for example, if they took their families on a personal trip to
 24 Disneyland. (See Brown Decl. ¶ 21.) This position is meritless and such personal
 25 contacts are irrelevant to the issue of personal jurisdiction and outside the scope of
 26 the jurisdictional discovery permitted by Judge Carney’s ruling. To the extent
 27 Plaintiff contends she needs more information about Mr. Antoon’s MindGeek
 28 business-related travel to the United States (and California) to determine whether
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  1 those trips had any relation to the policies plaintiff claims caused her harm, counsel
  2 for Mr. Antoon has stated to counsel for Plaintiff their willingness to seek more
  3 information as to the trips referenced in Mr. Antoon’s response to Interrogatory No.
  4 4. (Brown Decl. ¶ 21.) But Plaintiff simply is not entitled to discovery as to contacts
  5 with the jurisdiction unrelated to her claims.
  6                      b.     Plaintiff Seeks Communications with Other
  7                             Defendants Related to this Action (RFP No. 4)
  8         In   this   stipulation,   Plaintiff   misleadingly   claims   that   she   seeks
  9 “communications with other defendants,” but omits that her request actually seeks
 10 communications among defendants “related to this Action.” RFP No. 4. This request
 11 is plainly irrelevant to personal jurisdiction as it seeks communications well after the
 12 date Plaintiff’s alleged claims arose: the Amended Complaint alleges that the latest
 13 date Plaintiff’s content was on a MindGeek website was in June 2020. (Brown Decl.,
 14 Ex. N (Dkt. No. 124-3 ¶268.) As this Court has previously held, “only contacts
 15 occurring prior to the event causing the litigation may be considered.” (Brown Decl.,
 16 Ex. B (Dkt. No. 211 at 3 (citing Farmers Ins. Exch. v. Portage La Prairie Mut. Ins.
 17 Co., 907 F.2d 911, 913 (9th Cir. 1990)).) Moreover, as the Individual Defendants
 18 advised Plaintiff during the January 6 meet and confer, the Court struck an identical
 19 document request from Plaintiff’s proposed letters rogatory to Grant Thornton entities
 20 earlier in this case. (Brown Decl., Ex. B (Dkt. No. 211 at 6).)11
 21                      c.     Plaintiff Seeks Contact Lists Beyond the Scope of
 22                             Authorized Jurisdictional Discovery (RFP No. 32 and
 23                             ROG No. 6)
 24
      Plaintiff also seeks to compel responses to RFP Nos. 2 and 3. But as noted above,
      11

 25 information regarding Mr. Antoon’s ownership interests in the MindGeek Entities and
 26 the monies he received from the company have been provided to Plaintiff in his
    interrogatory responses (Antoon Interrogatory Response Nos. 1, 2) and in the
 27 interrogatory responses and documents produced by the MindGeek Entities related to
 28 the corporate and ownership structure of the company.
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  1         Plaintiff seeks from each Individual Defendant his list of contacts, without
  2 regard to whether they are business or personal, or have anything at all to do with
  3 MindGeek. This request is a transparent fishing expedition and needlessly invasive
  4 in light of the fact that a person’s contacts likely include family members, personal
  5 friends, doctors, clergy, and other private and confidential relationships. It is also
  6 beyond the scope of the authorized jurisdictional discovery. Indeed, Plaintiffs have
  7 conceded that this request relates to the merits of the case, not the jurisdiction issue.
  8 When MindGeek objected to an identical document request for the Individual
  9 Defendants’ contact lists on the grounds that they were not related to jurisdiction,
 10 Plaintiff did not even attempt to justify the request as jurisdictionally relevant.
 11 Instead, Plaintiff repeated her erroneous refrain that merits discovery was permissible
 12 and argued that the information was relevant to “Plaintiff’s claims and likely to lead
 13 to additional evidence concerning the individual Defendants’ liability.” (See Brown
 14 Decl., Ex. M (September 27, 2022, Letter from Michael J. Bowe (Plaintiff’s counsel)
 15 to Kathleen N. Massey (MindGeek’s counsel), Dkt. No. 224-6 at 4 (emphasis added).)
 16               6.     Mr. Antoon Has Conducted A Reasonably Diligent Search
 17         Plaintiff is wrong regarding the Individual Defendants’ search efforts: all have
 18 engaged in substantial review of the documents to which they have access. As
 19 explained to Plaintiff’s counsel, Mr. Antoon, as a former employee, no longer has
 20 access to MindGeek emails or other documents maintained by the company but has
 21 done a diligent search of his personal email for potentially responsive documents.
 22 (See Brown Decl. ¶¶ 23-24.)
 23         To be clear, none of the Individual Defendants’ counsel represented to
 24 Plaintiff’s counsel that Individual Defendants had not begun their search for
 25 responsive documents. Instead, Individual Defendants’ counsel informed Plaintiff’s
 26 counsel that it was hard to do a productive search given the scope of Plaintiff’s
 27 requests and Plaintiff’s refusal to narrow even a single one of them, not that no search
 28 had been conducted. (See Brown Decl. ¶ 21.) When Individual Defendants’ counsel
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  1 sought to resolve this misunderstanding—after first becoming aware of it through
  2 Plaintiff’s December draft of this Joint Stipulation—Plaintiff’s counsel refused to
  3 correct this portion of the Joint Stipulation.12 (See Brown Decl. ¶ 21.)
  4 V.      CONCLUSION
  5         A.     Plaintiff’s Conclusion
  6         For the foregoing reasons, Plaintiff respectfully requests that the Court grant
  7 this Motion in full, and order Defendant Antoon to produce documents in response to
  8 Plaintiff’s RFPs 1-30, 32-42, 46, 49, and 52 and to supplement his responses to
  9 Plaintiff’s ROGs 2, 3, 4, and 6. As a Defendant in this action, Antoon has the
 10 obligation to carry out a search for, and respond fully to, Plaintiff’s relevant discovery
 11 requests. Antoon has yet to even search for responsive material, let alone carried his
 12 burden to show the disputed discovery should not be allowed. Antoon was a senior
 13 officer and employee of the companies at the center of this litigation, and his refusal
 14 to produce even the most basic of communications concerning Plaintiff and his roles
 15 in directing, guiding, and controlling the companies for which he worked defy the
 16 Court’s previous discovery rulings and fly in the face of the Court’s specific direction
 17 for the Defendant to submit to jurisdictional discovery. Accordingly, this Court
 18 should order Defendant Antoon to respond to the aforementioned discovery requests.
 19         B.     Defendant’s Conclusion
 20         Plaintiff brought this motion to compel without meeting her obligations under
 21 Local Rule 37 to meet and confer and seek to narrow the issues in dispute between
 22 the parties and presented to the Court. Her motion should be denied for that reason
 23 alone. Substantively, Plaintiff’s motion should be denied for improperly seeking
 24 corporate emails and records from Mr. Antoon—who has no access to those
 25
 26    Further, despite Plaintiff’s arguments in section III(A)(5), Mr. Antoon is not
      12


 27 withholding any documents on the basis of privacy or data protection statutes.
    Counsel for Mr. Antoon expressly advised counsel for Plaintiff of this point in the
 28 January 6, 2023, meet and confer. (See Brown Decl. ¶ 21.)
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  1 materials—rather than the MindGeek Entities, from whom Plaintiff has sought the
  2 exact same documents and which have already made substantial productions within
  3 the proper scope of jurisdictional discovery, and because Plaintiff seeks here to obtain
  4 discovery well outside what is reasonable and proportional and what the Court has
  5 permitted at this phase.
  6
  7         For all of the reasons discussed herein, Plaintiff’s motion to compel should be
  8 denied.
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